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                                                                           8
                                                                           9     Attorneys for Plaintiff
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                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                           12

                                                                           13    ELIZABETH HENRIQUEZ,                                  Case No.
                                                                           14    individually and on behalf of all others              CLASS ACTION COMPLAINT
                                                                                 similarly situated,
                                                                           15                                                          1. VIOLATION OF CALIFORNIA
                                                                                                                                          CONSUMERS LEGAL REMEDIES
                                                                           16                              Plaintiff,                     ACT, CIVIL CODE § 1750, et seq.
                                                                                                                                       2. VIOLATION OF CALIFORNIA
                                                                           17            vs.                                              FALSE ADVERTISING LAW,
                                                                                                                                          BUSINESS AND PROFESSIONS
                                                                           18                                                             CODE § 17500, et seq.
                                                                                 ALDI INC., a corporation,                             3. VIOLATION OF CALIFORNIA
                                                                           19                                                             UNFAIR COMPETITION LAW,
                                                                                                                                          BUSINESS AND PROFESSIONS
                                                                           20                              Defendant.                     CODE § 17200, et seq.
                                                                                                                                       4. BREACH OF EXPRESS
                                                                           21                                                             WARRANTY
                                                                                                                                       5. BREACH OF IMPLIED
                                                                           22                                                             WARRANTY
                                                                                                                                       6. UNJUST ENRICHMENT
                                                                           23
                                                                                                                                       DEMAND FOR JURY TRIAL
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                                                                           1              Plaintiff Elizabeth Henriquez (“Plaintiff”), individually and on behalf of all
                                                                           2     others similarly situated, by and through her attorneys, bring this class action against
                                                                           3     Defendant ALDI Inc. (“Defendant” or “ALDI”) and alleges as follows:
                                                                           4                                             NATURE OF THE ACTION
                                                                           5              1.      ALDI falsely and deceptively advertises and labels its tuna products,
                                                                           6     including its Northern Catch Chunk Light Tuna in Water and Northern Catch Solid
                                                                           7     White Tuna Albacore in Water, as “DOLPHIN SAFE” (the “Products”). ALDI’s
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                                                                           8     false advertising scheme deceives millions of consumers into believing the Products
                                                                           9     are “DOLPHIN SAFE,” meaning they are manufactured using fishing methods that
                                                                           10    neither kill nor harm dolphins. However, the grim reality is that the Products are
                                                                           11    sourced using fishing methods that seriously injure and kill thousands of dolphins
                                                                           12    and other marine life each year. ALDI knowingly and intentionally labels and
                                                                           13    advertises its Products as “DOLPHIN SAFE,” to increase profits at the expense of
                                                                           14    sustainability concerned consumers and innocent marine life, while gaining an
                                                                           15    unfair economic advantage over their law-abiding competitors that sell truly
                                                                           16    “DOLPHIN SAFE” tuna products. See Defendant’s Product packaging and official
                                                                           17    website, depicted in Exhibits 1-4, below.1
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                                                                                  Website descriptions and images of the Products were taken from Defendant’s
                                                                           26    official website:
                                                                           27    Exhibit 1 & 3: https://www.aldi.us/en/products/pantry-essentials/canned-
                                                                                 foods/detail/ps/p/northern-catch-chunk-light-tuna-in-water/
                                                                           28    Exhibit 2 & 4: https://www.aldi.us/en/products/pantry-essentials/canned-
                                                                                 foods/detail/ps/p/northern-catch-solid-white-tuna-1/
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                                                                           1     Exhibit 1: ALDI Northern Catch Chuck Light Tuna in Water: Can, Front View
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                                                                           12    Exhibit 2: ALDI Northern Catch Solid White Tuna Albacore in Water: Can,
                                                                           13    Front View
                                                                           14
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                                                                           1     Exhibit 3: ALDI Northern Catch Chuck Light Tuna in Water: Website
                                                                                 Description
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                                                                           1     Exhibit 4: ALDI Northern Catch Solid White Tuna Albacore in Water:
                                                                                 Website Description
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                                                                           14             2.      Defendant’s “DOLPHIN SAFE” claims are false, misleading, deceptive,
                                                                           15    unfair, fraudulent, and unlawful under California’s Consumers Legal Remedies Act
                                                                           16    (“CLRA”), Civil Code Section 1750, et seq., Unfair Competition Law (“UCL”),
                                                                           17    Business and Professions Code Sections 17200, et seq., and the False Advertising
                                                                           18    Law (“FAL”), 17500, et seq. Defendant has also been unjustly enriched and has
                                                                           19    breached its express and implied warranties about the Products. Defendant’s false
                                                                           20    and deceptive claims are uniformly advertised through its labeling, packaging, and
                                                                           21    website. Through its false and deceptive advertising, Defendant has misled Plaintiff
                                                                           22    and other reasonable consumers into buying the Products at stores across California
                                                                           23    and the United States based on its material claims that the Products are created and
                                                                           24    manufactured in a manner that is “DOLPHIN SAFE.”
                                                                           25             3.      Plaintiff brings this action individually and on behalf of those similarly
                                                                           26    situated to represent a Nationwide Class and a California Class (described infra).
                                                                           27    Plaintiff seeks injunctive relief to cure Defendant’s unlawful labeling and
                                                                           28

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                                                                           1     advertising of the Products and restitution for money wrongfully acquired by
                                                                           2     Defendant.
                                                                           3                                                JURISDICTION
                                                                           4              4.       This Court has subject matter jurisdiction of this action pursuant to 28
                                                                           5     U.S.C. Section 1332 and the Class Action Fairness Act of 2005 because: (i) there
                                                                           6     are 100 or more class members, (ii) there is an aggregate amount in controversy
                                                                           7     exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal
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                                                                           8     diversity because at least one plaintiff and defendant are citizens of different states.
                                                                           9     This Court has supplemental jurisdiction over any state law claims pursuant to 28
                                                                           10    U.S.C. Section 1367.
                                                                           11             5.       Defendant is subject to personal jurisdiction in California based upon
                                                                           12    sufficient minimum contacts which exist between Defendant and California.
                                                                           13    Defendant is authorized to do and doing business in California.
                                                                           14                                                   VENUE
                                                                           15             6.      Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for
                                                                           16    this action because a substantial part of the events, omissions, and acts giving rise to
                                                                           17    the claims herein occurred in this District. Plaintiff is a citizen of California, resides
                                                                           18    in this District, and purchased the Product within this District. Moreover, Defendant
                                                                           19    receives substantial compensation from sales in this District, and Defendant made
                                                                           20    numerous misrepresentations which had a substantial effect in this District,
                                                                           21    including, but not limited to, label, packaging, and Internet advertisements, among
                                                                           22    other advertising.
                                                                           23                                                   PARTIES
                                                                           24    A. Plaintiff
                                                                           25             7.      Plaintiff Henriquez. The following is alleged based upon personal
                                                                           26    knowledge: (1) Plaintiff Elizabeth Henriquez (“Plaintiff”) is, and at all times
                                                                           27    relevant hereto was, a citizen and resident of Los Angeles County, California. (2)
                                                                           28    Plaintiff purchased Northern Catch Chunk Light Tuna in Water from an ALDI store

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                                                                           1     in Los Angeles, CA in 2021. Plaintiff paid approximately $0.75 for the Product. (3)
                                                                           2     In making her purchase, Plaintiff relied upon the Product labeling, packaging, and
                                                                           3     advertising that the Products were “DOLPHIN SAFE.” The Products were prepared
                                                                           4     and approved by Defendant and its agents and disseminated statewide and
                                                                           5     nationwide, as well as designed to encourage consumers to purchase the Products.
                                                                           6     The Products’ labeling and advertising led Plaintiff to believe that the Product was
                                                                           7     “DOLPHIN SAFE”—i.e., the tuna sourced for sale of the Product were caught
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                                                                           8     using fishing methods that do not kill or injure dolphins. (4) At the time of purchase,
                                                                           9     Plaintiff did not know that the “DOLPHIN SAFE” representation was false—i.e.,
                                                                           10    Plaintiff did not know that the Product was sourced from tuna caught using fishing
                                                                           11    methods that kill and injure dolphins. (5) If Plaintiff had known that the Products
                                                                           12    were not “DOLPHIN SAFE,” then Plaintiff would not have purchased the Products,
                                                                           13    and certainly would not have paid a “premium” for such a valued perceived benefit.
                                                                           14    (6) Plaintiff continues to see the Products available for purchase and intends to
                                                                           15    purchase them again under the assumption that Defendant has cured its unlawful
                                                                           16    business practices and the “DOLPHIN SAFE” representations are in fact true —i.e.,
                                                                           17    Defendant truthfully used fishing practices which do not kill or injure dolphins in
                                                                           18    the sourcing of the tuna used for the Products. (7) Plaintiff is not personally familiar
                                                                           19    with, and does not possess any specialized knowledge skill, experience, or
                                                                           20    education, in the manufacture of tuna products or commercial fishing methods and,
                                                                           21    therefore, Plaintiff has no way of determining whether Defendant is actually using
                                                                           22    “DOLPHIN SAFE” fishing methods as it claims. (8) Plaintiff is, and continues to
                                                                           23    be, unable to rely on the truth of the “DOLPHIN SAFE” attribute on the Products’
                                                                           24    labels.
                                                                           25             8.      Plaintiff’s Likely Future Harm. Plaintiff intends to purchase the
                                                                           26    Products again with the hope of consuming tuna products which, as advertised, are
                                                                           27    truly “DOLPHIN SAFE,” despite the fact that they were once marred by false
                                                                           28    advertising and labeling. If by that time the Products are not improved by using

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                                                                           1     “DOLPHIN SAFE” fishing practices, as Plaintiff would reasonably, but incorrectly,
                                                                           2     assume, the Plaintiff is at risk of being deceived again. In that regard, Plaintiff is an
                                                                           3     average consumer who has no ability to know what fishing practices Defendant is
                                                                           4     actually using or whether those fishing practices pose no risk of harm to dolphins.
                                                                           5     Accordingly, Plaintiff is at risk of reasonably, but incorrectly, assuming that
                                                                           6     Defendant fixed its fishing practices such that Plaintiff may buy the Products again,
                                                                           7     believing they were no longer falsely advertised. Plaintiff is, therefore, currently and
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                                                                           8     in the future deprived of the ability to rely on the “DOLPHIN SAFE”
                                                                           9     representations.
                                                                           10    B. Defendant
                                                                           11             9.      Defendant ALDI. Defendant ALDI Inc. is an Illinois corporation.
                                                                           12    Defendant maintains its principal place of business at 1200 North Kirk Road,
                                                                           13    Batavia, IL 60510. Defendant was and currently is doing business in the State of
                                                                           14    California at all relevant times. ALDI Inc., directly and through its agents, has
                                                                           15    substantial contacts with and receives substantial benefits and income from and
                                                                           16    through the State of California. ALDI Inc. is an owner, manufacturer, and/or
                                                                           17    distributor of the Northern Catch Tuna Product line and is a company that created
                                                                           18    and/or authorized the false, misleading, and deceptive labeling and packaging for
                                                                           19    the Products. The unfair, unlawful, deceptive, and misleading "DOLPHIN SAFE"
                                                                           20    representations on the Products were prepared, authorized, ratified, and/or approved
                                                                           21    by Defendant and its agents, and were disseminated throughout this District,
                                                                           22    California, and the nation by Defendant and its agents to deceive and mislead
                                                                           23    consumers therein into purchasing the Products and paying a premium for the
                                                                           24    falsely advertised Products’ attributes.
                                                                           25             10. Respondeat Superior. Defendant and its agents manufactured,
                                                                           26    advertised, marketed, and sold the Products at issue in this jurisdiction and in this
                                                                           27    judicial district. The unfair, unlawful, deceptive, and misleading false advertising
                                                                           28    claims on the Products were prepared, authorized, ratified, and/or approved by

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                                                                           1     Defendant and its agents, and, accordingly, disseminated throughout the State of
                                                                           2     California and the nation by Defendant and its agents in order to deceive and
                                                                           3     mislead consumers into purchasing the Products.
                                                                           4                                             FACTUAL ALLEGATIONS
                                                                           5     A. Background
                                                                           6              11. Dolphins. Dolphins are small-toothed cetaceans that prey on low-mid
                                                                           7     trophic level fishes and cephalopods. There are thirty-six species of dolphin, which
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                                                                           8     are found in every ocean.2 Like all predators, dolphins play an important role in
                                                                           9     keeping ecosystems balanced: “Without dolphins, the animals they prey on would
                                                                           10    increase in number, and their predators wouldn’t have as much to eat. This would
                                                                           11    disrupt the natural balance in the food chain and could negatively affect other
                                                                           12    wildlife and the health of the ocean environment.”3 By dispersing nutrients and
                                                                           13    mixing water in stratified oceans and rivers, dolphins play a vital role in sustaining
                                                                           14    and maintaining all sea life.4 Because billions of people depend on the ocean and
                                                                           15    oceanic fish for food, dolphins function to sustain human life as well. Additionally,
                                                                           16    dolphins are extremely intelligent animals. Indeed, dolphins may be Earth’s second
                                                                           17    smartest creatures next to humans.5 Despite their ecological importance and extreme
                                                                           18    intelligence, dolphins are disappearing at alarming rates. Among other factors,
                                                                           19    dolphins are threatened by the commercial fishing industry. In fact, sixteen species
                                                                           20
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                                                                                   Dolphins, NATIONAL GEOGRAPHIC,
                                                                                 https://www.nationalgeographic.com/animals/mammals/facts/dolphins#:~:text=Dol
                                                                           22    phins%20are%20small%2Dtoothed%20cetaceans,or%20brackish%20waters%20alo
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                                                                                 ng%20coastlines
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                                                                                   Bottlenose Dolphins: Our Smart, Sociable Stars of the Sea, WWF,
                                                                           24    https://www.wwf.org.uk/learn/wildlife/dolphins#:~:text=Without%20dolphins%2C
                                                                           25    %20the%20animals%20they,health%20of%20the%20ocean%20environment
                                                                                 4
                                                                                   Jeremy Kiszka, Matthew S. Woodstock, & Michael R. Heithaus, Functional Roles
                                                                           26    and Ecological Importance of Small Cetaceans in Aquatic Ecosystems, FRONTIERS
                                                                           27    (Feb. 25, 2022),
                                                                                 https://www.frontiersin.org/articles/10.3389/fmars.2022.803173/full.
                                                                           28    5
                                                                                   David Grimm & Greg Miller, Is a Dolphin a Person?, SCIENCE (Feb. 21, 2010),
                                                                                 https://www.science.org/content/article/dolphin-person.
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                                                                           1     of whales and dolphins are considered in danger of extinction due to human
                                                                           2     influences. 6 In recent years, consumers have become increasingly concerned about
                                                                           3     protecting the environment, including dolphins, through individual action, such as
                                                                           4     purchasing “DOLPHIN SAFE” tuna products, which are made from tuna harvested
                                                                           5     using a method of fishing that does not kill or harm dolphins. Thus, “DOLPHIN
                                                                           6     SAFE” tuna products, such as the Products in this case, are rapidly increasing in
                                                                           7     popularity due to their perceived positive ecological benefit.
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                                                                           8              12. For decades, commercial fisheries across the globe have posed the
                                                                           9     greatest threat to marine wildlife and have decimated fish populations, wiping out
                                                                           10    ninety percent of all large fish. Today, the global tuna industry alone is worth
                                                                           11    roughly 42 billion dollars. 7 In addition to threatening fish species, commercial
                                                                           12    fisheries have also long endangered cetacean species (whales, dolphins, and
                                                                           13    porpoises), killing roughly 300,000 cetaceans each year. 8 As consumers have
                                                                           14    become more aware of the damaging effects of commercial fishing on both oceanic
                                                                           15    fish and mammal species alike, calls for efforts to curb the harmful effects of certain
                                                                           16    fishing practices have become more prevalent within the fishing industry.
                                                                           17             13. In 1990, Earth Island’s International Marine Mammal Project (“IMMP”)
                                                                           18    developed the “DOLPHIN SAFE” concept and label, specifically to be used for
                                                                           19    canned tuna, in response to the unsafe fishing practices that were being used to
                                                                           20    harvest tuna.9 Now, more than 800 tuna companies display and adhere to
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                                                                                   Endangered Species, DOLPHIN RESEARCH CENTER,
                                                                                 https://dolphins.org/endangered_species#:~:text=Overview-
                                                                           24    ,Overview,to%20the%20Endangered%20Species%20Act
                                                                                 7
                                                                           25      Tom Levitt, Overfishing Puts $42bn Tuna Industry at Risk of Collapse, THE
                                                                                 GUARDIAN
                                                                           26     (May 2, 2016), https://www.theguardian.com/sustainable-
                                                                           27    business/2016/may/02/overfishing-42bn-tuna-industry-risk-collapse.
                                                                                 8
                                                                                   Seaspiracy, https://www.seaspiracy.org/facts.
                                                                           28    9
                                                                                   What does Dolphin Safe Mean?, INTERNATIONAL MARINE MAMMAL PROJECT,
                                                                                 https://savedolphins.eii.org/news/what-does-dolphin-safe-mean.
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                                                                           1     “DOLPHIN SAFE” practices. 10 According to IMMP, “DOLPHIN SAFE” means
                                                                           2     that “tuna [is] caught without deliberately encircling any dolphins with tuna nets
                                                                           3     during the entire trip of the tuna vessel;” this definition was codified into federal law
                                                                           4     under the Dolphin Conservation Consumer Education Act of 1990. 11 These
                                                                           5     standards were later broadened by the IMMP and Congress to ban tuna companies
                                                                           6     from using the label if any dolphins were even accidentally killed or seriously
                                                                           7     injured in the production of their tuna.12
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                                                                           8              14. However, recently it has been discovered that some of the largest tuna
                                                                           9     companies in the industry are defrauding consumers by claiming that their products
                                                                           10    are “DOLPHIN SAFE,” when they are not.13 Many tuna products that tout the
                                                                           11    “DOLPHIN SAFE” claim are still made with tuna that is caught using fishing
                                                                           12    methods, like purse seines and longlines, which pose significant risks to dolphins
                                                                           13    and lead to large numbers of bycatch. Some scientists claim that bycatch is an
                                                                           14    “inescapable certainty” of commercial fishing operations. 14
                                                                           15             15. Bycatch refers to the unintentional hooking or ensnaring of marine
                                                                           16    life. 15 Marine mammals such as dolphins and whales caught as a result of bycatch
                                                                           17    are unable to surface for air, causing suffocation and a painful death. 16 The
                                                                           18    following practices are associated with dolphin bycatch: “gillnets, purse seine nets,
                                                                           19    fish aggregating devices, and longlines.”17 Therefore, a company which uses fishing
                                                                           20    practices that results in incidental bycatch, cannot truthfully claim their products are
                                                                           21    “DOLPHIN SAFE.”
                                                                           22
                                                                                 10
                                                                           23
                                                                                    Id.
                                                                                 11
                                                                                    Id.
                                                                           24    12
                                                                                    Id.
                                                                                 13
                                                                           25       How Safe is Dolphin-Safe Tuna, Really?, NATIONAL GEOGRAPHIC,
                                                                                 https://www.nationalgeographic.com/animals/article/how-dolphin-safe-is-canned-
                                                                           26    tuna.
                                                                                 14
                                                                           27       Id.
                                                                                 15
                                                                                    Id.
                                                                           28    16
                                                                                    Id.
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                                                                                    Id.
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                                                                           1              16. Purse seine fishing involves a large net that is used to circle an entire
                                                                           2     school of fish. 18 Once the fishing vessel locates the school of fish, the vessel circles
                                                                           3     the school with the net and the lead line is then pulled to create the “pursing” effect
                                                                           4     to close the net at the bottom, trapping both fish and other marine mammals,
                                                                           5     resulting in bycatch. 19
                                                                           6              17. Longline fishing involves lines that can be as long as 62 miles that have
                                                                           7     as many as 10,000 baited hooks attached, and draws the line in every 12-24 hours,
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                                                                           8     killing and harming numerous marine mammals. 20 A report from the National
                                                                           9     Resources Defense council states that scientists estimate over 650,000 marine
                                                                           10    mammals are killed or seriously injured every year as a result of incidental
                                                                           11    bycatch.21
                                                                           12             18. Despite what seems to be an already staggering number, the figure is
                                                                           13    likely even higher, since commercial fishermen are incentivized to underreport
                                                                           14    bycatch, which is facilitated by rampant lack of accountability and widespread
                                                                           15    unreliable reporting on bycatch. In fact, in 2005, less than half of the fishing vessels
                                                                           16    around the world recorded quantitative statistics on annual bycatch. 22 This problem
                                                                           17    18
                                                                                    Fishing Gear: Purse Seines, NATIONAL OCEANIC AND ATMOSPHERIC
                                                                           18    ADMINISTRATION, https://www.fisheries.noaa.gov/national/bycatch/fishing-gear-
                                                                           19
                                                                                 purse-
                                                                                 seines#:~:text=Sea%20turtles%20can%20be%20captured,sheer%20weight%20of%
                                                                           20    20the%20tow.
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                                                                           21
                                                                                    Id.
                                                                                 20
                                                                                    Fitzgerald KT. Longline fishing (how what you don't know can hurt you). TOP
                                                                           22    COMPANION ANIM MED.,
                                                                           23
                                                                                 https://reader.elsevier.com/reader/sd/pii/S1938973613000834?token=A0D368FDA
                                                                                 E809BCF8070D7833841EF076EB56241B3FBD0E4950EAA451915CA38BF9788
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                                                                           25    1&originCreation=20220809203830
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                                                                                    “Net Loss: The Killing of Marine Mammals in Foreign Fisheries,” NATIONAL
                                                                           26    RESOURCES DEFENSE COUNCIL, Pg. 4,
                                                                           27    https://www.nrdc.org/sites/default/files/mammals-foreign-fisheries-report.pdf.
                                                                                 22
                                                                                    Amanda Keledjian, et al., Wasted Catch: Unsolved Problems in U.S. Fisheries,
                                                                           28    OCEANA (2014), https://oceana.org/reports/wasted-catch-unsolved-problems-us-
                                                                                 fisheries/.
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                                                                           1     holds true in the United States as well. Despite federal legislation such as the
                                                                           2     Magnuson-Stevens Act requiring detailed reporting on bycatch statistics by U.S.
                                                                           3     fisheries, there are too few unbiased reporters onboard fishing vessels to get an
                                                                           4     accurate metric of annual bycatch. Exacerbating this problem is the lack of
                                                                           5     governmental reporting. The U.S. National Marine Fisheries Service last provided
                                                                           6     an update to its U.S. National Bycatch Report in 2019, but this update was based on
                                                                           7     data from 2014 and 2015.23 A recent report found that “only four out of hundreds of
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                                                                           8     U.S. fisheries are meeting the recommended standards for the statistical accuracy
                                                                           9     and validity of their catch data, if they report data at all.”24
                                                                           10             19. This lack of transparency, combined with the self-policing nature of the
                                                                           11    industry, allows major tuna producers and distributors like Defendant to reap the
                                                                           12    benefits of harmful fishing practices all the while advertising their Products to
                                                                           13    unsuspecting consumers as “DOLPHIN SAFE.”
                                                                           14             20. Dolphin Protection Consumer Information Act. Congress enacted
                                                                           15    the Dolphin Protection Consumer Information Act (“DPCIA”) in order to protect
                                                                           16    marine mammals killed in the course of tuna fishing operations due to driftnet
                                                                           17    fishing.25 Congress specifically enacted this statute regarding the labeling of tuna
                                                                           18    products because they believed “consumers would like to know if the tuna they
                                                                           19    purchase is falsely labeled as to the effect of the harvesting of the tuna on
                                                                           20    dolphins.”26 Pursuant to 16 U.S.C. Section 1385(d)(1), it is a violation of this act
                                                                           21    “for any producer, importer, exporter, distributor, or seller of any tuna product that
                                                                           22    is exported from or offered for sale in the United States to include on the label of
                                                                           23    that product the term ‘dolphin safe’ or any other term or - that falsely claims or
                                                                           24    suggests that the tuna contained in the product were harvested using a method of
                                                                           25

                                                                           26    23
                                                                                    Lee R. Benaka, et al., U.S. National Bycatch Report First Edition Update 3, U.S.
                                                                           27    NATIONAL OCEANIC AND ATMOSPHERIC ADMINISTRATION (February 2019).
                                                                                 24
                                                                                    Keledjian, supra at 22.
                                                                           28    25
                                                                                    16 U.S.C. § 1385(b)(1).
                                                                                 26
                                                                                    16 U.S.C. § 1385(b)(3).
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                                                                           1     fishing that is not harmful to dolphins if the product contains tuna harvested on the
                                                                           2     high seas by a vessel engaged in driftnet fishing.”27
                                                                           3              21. If the criteria set forth in Section 1385(d) is satisfied, then Section
                                                                           4     1385(d)(3)(A) of the DPCIA identifies the dolphin safe mark or label that must be
                                                                           5     used if that particular producer chooses to advertise their product as “dolphin safe”
                                                                           6     (see Exhibit 5 [U.S. Dept. of Commerce Official “dolphin safe” logo]). Section
                                                                           7     1385(d)(3)(C) specifically states that no other mark or label, other than the one set
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                                                                           8     forward by subparagraph A, should be used to communicate a product is dolphin
                                                                           9     safe, unless: (i) no dolphins were killed or seriously injured in the sets or other gear
                                                                           10    deployments in which the tuna were caught; (ii) the label is supported by a tracking
                                                                           11    and verification program which is comparable in effectiveness to the program
                                                                           12    established under subsection (f); and (iii) the label complies with all applicable
                                                                           13    labeling, marketing, and advertising laws and regulations of the Federal Trade
                                                                           14    Commission, including any guidelines for environmental labeling.”28
                                                                           15    Exhibit 5: U.S. Department of Commerce, Official “DOLPHIN SAFE” Logo. 29
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                                                                                    16 U.S.C. § 1385(d)(1).
                                                                           28    28
                                                                                    16 U.S.C. § 1385(d)(3)(C).
                                                                                 29
                                                                                    Dolphin-Safe Tuna Labeling; Official Mark, 65 Fed. Reg. 34408 (June 29, 2000).
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                                                                           1              22. FTC Labeling Regulations. Under Section 5 of the FTC’s Consumer
                                                                           2     Deception Act prohibits “unfair or deceptive acts or practices in or affecting
                                                                           3     commerce.” 30 Deceptive acts are any practices where a “representation, omission, or
                                                                           4     practice misleads or is likely to mislead the consumer, [a] consumer's interpretation
                                                                           5     of the representation, omission, or practice is considered reasonable under the
                                                                           6     circumstances; and [t]he misleading representation, omission, or practice is
                                                                           7     material.” 31 Defendant’s representation that its Product is “DOLPHIN SAFE” is
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                                                                           8     misleading to Plaintiff and other consumers who reasonably interpret the label claim
                                                                           9     to mean no dolphins were killed, harmed, or injured in the manufacturing of the
                                                                           10    Products. Since Defendant uses fishing methods that are known to injure and kill
                                                                           11    dolphins , Defendant's representation that the Products are "DOLPHIN SAFE"
                                                                           12    therefore violates FTC labeling regulations and California's consumer protection
                                                                           13    laws.
                                                                           14             23. Reasonable Consumers’ Perception. Reasonable consumers, like
                                                                           15    Plaintiff, interpret the “DOLPHIN SAFE” label to mean that no dolphins were
                                                                           16    killed, harmed, or injured in the manufacturing of the Products. Defendant takes
                                                                           17    advantage of the intentions of consumers to purchase tuna products safe for dolphins
                                                                           18    by falsely and deceptively using the “DOLPHIN SAFE” label for its non-dolphin-
                                                                           19    safe Products.
                                                                           20             24. Based on the inclusion of the “DOLPHIN SAFE” label, reasonable
                                                                           21    consumers believe that the Products do not contain tuna product harvested using
                                                                           22    fishing practices which kill or injure dolphins. This perception is consistent with
                                                                           23    standard dictionary definitions, regulatory definitions, and the California
                                                                           24    legislature’s interpretation of environmental advertising claims.
                                                                           25

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                                                                                 30
                                                                           27       “Federal Trade Commission Act Section 5: Unfair or Deceptive Acts or
                                                                                 Practices,” FEDERAL RESERVE,
                                                                           28    https://www.federalreserve.gov/boarddocs/supmanual/cch/200806/ftca.pdf.
                                                                                 31
                                                                                    Id.
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                                                                           1                 a. Dictionary—Safe. The Merriam-Webster standard dictionary defines
                                                                           2                      “safe” as “free from harm or risk.”32
                                                                           3                 b. FTC Green Guides. Notably, the FTC promulgated the Guides for the
                                                                           4                      Use of Environmental Marketing Claims, codified at 16 C.F.R. 260.1, et
                                                                           5                      seq. (“Green Guides”), to “help marketers avoid making environmental
                                                                           6                      marketing claims that are unfair or deceptive” based on the FTC’s
                                                                           7                      “views on how reasonable consumers likely interpret [those] claims.” Id.
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                                                                           8                      at § 260.1(a), (d). In its view, “[u]nqualified general environmental
                                                                           9                      benefit claims . . . likely convey that the product . . . has specific and
                                                                           10                     far-reaching environmental benefits and may convey that the item . . .
                                                                           11                     has no negative environmental impact.” Id. at § 260.4(b) (providing
                                                                           12                     “Eco-Friendly” as an example) (emphasis added).
                                                                           13                c. California Legislature. The California legislature codified the Green
                                                                           14                     Guides to make it “unlawful for a person to make an untruthful,
                                                                           15                     deceptive, or misleading environmental claim, whether explicit or
                                                                           16                     implied.” Cal. Bus. & Prof. Code § 17580.5. California viewed terms
                                                                           17                     “on the label or container of a consumer good” like “environmental
                                                                           18                     choice,” “ecologically friendly,” “earth friendly,” “environmentally
                                                                           19                     friendly,” “ecologically sound,” “environmentally sound,”
                                                                           20                     “environmentally safe,” “ecologically safe,” “environmentally lite,”
                                                                           21                     “green product,” “or any other like term,” to mean that the product “is
                                                                           22                     not harmful to, or is beneficial to, the natural environment.” Id. at §§
                                                                           23                     17580(a) (emphasis added); see also id. at § 17581 (criminalizing such
                                                                           24                     deceptive labeling claims).
                                                                           25                d. The Merriam-Webster standard dictionary defines “environment” as
                                                                           26                     “the complex of physical, chemical, and biotic factors (such as climate,
                                                                           27                     soil, and living things) that act upon an organism or an ecological
                                                                           28
                                                                                 32
                                                                                      Safe, MERRIAM-WEBSTER, https://www.merriam-webster.com/dictionary/safe
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                                                                           1                      community and ultimately determine its form and survival.” (emphasis
                                                                           2                      added). As previously and subsequently outlined, this case concerns
                                                                           3                      tuna in Defendant’s Products that are harvested using fishing methods
                                                                           4                      that kill or cause harm to dolphins. Dolphins are a vital part of the
                                                                           5                      natural environment not only because they are living things but because
                                                                           6                      they keep ecosystems in balance, disperse nutrients, and mix water in
                                                                           7                      stratified oceans and rivers. 33 Thus, in labeling its Products as
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                                                                           8                      “DOLPHIN SAFE” while simultaneously using longline and similarly
                                                                           9                      harmful fishing methods to harvest tuna, Defendant is acting contrary to
                                                                           10                     California law.
                                                                           11             25. Consumers Prefer and Seek Dolphin-Safe Tuna. Today, “dolphin
                                                                           12    unsafe” tuna has been driven out of the market, with 98% of canned tuna being
                                                                           13    packaged with some sort of “DOLPHIN SAFE” labeling.34 By that measure, the
                                                                           14    push for dolphin-safe fishing methods should be deemed a success. Unfortunately,
                                                                           15    however, “DOLPHIN SAFE” labels have less to do with conservation and more to
                                                                           16    do with advancing special interests.35
                                                                           17             26. When presented with the option of choosing between “DOLPHIN
                                                                           18    SAFE” and dolphin unsafe tuna, American consumers overwhelmingly chose to
                                                                           19    purchase the former. 36 Studies on consumer behavior have found that dolphin safe
                                                                           20    labeling has, in fact, affected consumer behavior, and such labeling has contributed
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                                                                                    Kiszka, supra at 4.
                                                                           24    34
                                                                                    K. William Watson, ‘Dolphin Safe’ Labels on Canned Tuna Are a Fraud, FORBES
                                                                           25    (April 29, 2015), https://www.forbes.com/sites/realspin/2015/04/29/dolphin-safe-
                                                                                 labels-on-canned-tuna-are-a-fraud/?sh=17fca69e295e
                                                                           26    35
                                                                                    Id.
                                                                                 36
                                                                           27       Earth Island Inst. v. Hogarth, 494 F.3d 757, 761 (9th Cir. 2007) (noting that as a
                                                                                 result of consumer choice between dolphin-safe and dolphin-unsafe tuna products,
                                                                           28    “foreign sellers who did not adjust their fishing methods were quickly forced out of
                                                                                 the market”).
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                                                                           1     to an increase in the market share of canned tuna.37 This research highlights the fact
                                                                           2     that Americans are willing to pay more in order to avoid personally contributing to
                                                                           3     the killing or harming of dolphins during tuna fishing. Consequently, manufacturers
                                                                           4     and distributors of “DOLPHIN SAFE” tuna, such as ALDI, have taken advantage of
                                                                           5     this demand for ethically sourced tuna without ensuring consumer concerns are met.
                                                                           6     Defendant’s false labeling and advertising creates consumer confusion about
                                                                           7     dolphin safe methods and labels.
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                                                                           8              27. Other Courts Have Deemed Claims Regarding Similar Product
                                                                           9     Labels to Be Actionable. Defendant is not the first tuna manufacturer to engage in
                                                                           10    deceptive practices only to find itself embroiled in controversy. Some of the largest
                                                                           11    tuna product manufacturers in the world have already faced class action lawsuits
                                                                           12    claiming that they defrauded consumers by advertising their tuna products as
                                                                           13    “DOLPHIN SAFE” despite using unsafe fishing methods.38 For example, in
                                                                           14    Gardner v. Starkist Co., Case No. 19-cv-02561-WHO (N.D. Cal. December 23,
                                                                           15    2019), the plaintiff brought suit against the defendant pursuant in part to Civil Code
                                                                           16    Section 1750, California’s Consusmers Legal Remedy Act (”CLRA”), for falsely
                                                                           17    labeling its tuna product as “DOLPHIN SAFE” despite employing fishing practices
                                                                           18    that kill or harm dolphins. The court denied Starkist’s Rule 12(b)(6) motion, ruling
                                                                           19    the product’s dolphin safe claims misled consumers since defendant’s fishing
                                                                           20    techniques (longlines, modern purse seines, and fish aggregating device), which
                                                                           21    include the same fishing methods used to source tuna for Aldi’s Products, were
                                                                           22    known to cause dolphin deaths and injuries.
                                                                           23    //
                                                                           24
                                                                                 37
                                                                           25       See Mario F. Teisl, et al., Can Eco-Labels Tune a Market? Evidence from
                                                                                 Dolphin-Safe Labeling, J. ENVIRON. ECON. MANAG., (2002).
                                                                           26    38
                                                                                    Rene Ebersole, How ‘Dolphin Safe’ is Canned Tuna, Really?, NATIONAL
                                                                           27    GEOGRAPHIC (Mar. 10, 2021), www.nationalgeographic.com/animals/article/how-
                                                                                 dolphin-safe-is-canned-
                                                                           28    tuna#:~:text=The%20three%20largest%20U.S.%20tuna,and%20a%20commitment
                                                                                 %20to%20sustainability.
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                                                                           1     B. Defendant’s Products Are Not “DOLPHIN SAFE”
                                                                           2              28. The Products are Manufactured using Unsafe Fishing Methods
                                                                           3     Known To Kill and Harm Dolphins. Defendant labels and advertises the Products
                                                                           4     as “DOLPHIN SAFE” directly on the Products’ containers and official website (see
                                                                           5     Exhibits 1-4). However, Defendant’s “DOLPHIN SAFE” representation is false and
                                                                           6     deceptive because the tuna in the Products is sourced using fishing methods that are
                                                                           7     known to kill and harm dolphins and other marine life. Defendant identifies the
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                                                                           8     fishing methods it uses to manufacture its Products on the back label: longline,
                                                                           9     purse seine (free school), and pole and line fishing. (See Exhibits 6-7).
                                                                           10    Exhibit 6: Northern Catch Chunk Light Tuna in Water
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                                                                           19    Exhibit 7: Northern Catch Solid White Tuna Albacore in Water
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                                                                           1              29. Plaintiff and the Class do not have a duty to inspect the Products’ back
                                                                           2     labels or investigate beyond the front of the Products’ packaging to determine
                                                                           3     whether the Products are truly “DOLPHIN SAFE.” Plaintiff and the Class relied on
                                                                           4     the front label “DOLPHIN SAFE” claim when making their purchase decision and
                                                                           5     reasonably believed the tuna in the Products were harvested in a manner that do not
                                                                           6     harm or kill dolphins. And even if Plaintiff and the Class were aware of the fishing
                                                                           7     methods identified on the Products’ back label, they do not have the expertise or
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                                                                           8     specialized knowledge to know, understand, or expect that such fishing methods
                                                                           9     cause harm and death to dolphins in contradiction to the Products’ “DOLPHIN
                                                                           10    SAFE” representations.
                                                                           11             30. Longline Fishing. ALDI identifies longline fishing as the catch method
                                                                           12    for the tuna in its Northern Catch Solid White Tuna Albacore in Water, as seen in
                                                                           13    Exhibit 7, supra. Longline fishing is one of the most damaging fishing methods to
                                                                           14    marine ecosystems and as much as thirteen percent of the world’s tuna is caught
                                                                           15    using this method. Each day, longline fishing boats set out enough line to wrap the
                                                                           16    world five-hundred times.39 Longline fishing involves casting out fishing lines that
                                                                           17    extend over sixty miles in length and contain thousands of hooks, which can ensnare
                                                                           18    birds, marine mammals like dolphins, and juvenile fish. Longline fishing also
                                                                           19    requires “backbreaking, dangerous, and relentless work . . . .”40
                                                                           20             31. Longline fishing has had a significant harmful impact on marine life.
                                                                           21    For example, it is estimated that between 1994 and 2002, the Hawaiian pelagic
                                                                           22    longline fleet resulted in the deaths and serious injuries of forty-eight whales and
                                                                           23    dolphins per year. 41 In 2016, the Hawaii and American Samoa longline fisheries
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                                                                                    See, Seaspiracy, supra at 8.
                                                                           26    40
                                                                                    2017 Tuna Shopping Guide,
                                                                           27    GREENPEACE, https://www.greenpeace.org/usa/oceans/tuna-guide/.
                                                                                 41
                                                                                    Eric Gilman, Nigel Brothers, Geoff McPherson, & Paul Dalzell, A Review of
                                                                           28    Cetacean Interaction with Longline Gear, 8 J. CETACEAN RES. MANAGE. 215, 217
                                                                                 (2006).
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                                                                           1     were considered responsible for injuring eighty-nine out of 101 mammals that
                                                                           2     interacted with fisheries in these locations.42
                                                                           3              32. In fact, longline fishing methods are so harmful to dolphins and other
                                                                           4     “non-target” marine life, that experts and the World Wildlife Foundation (“WWF”)
                                                                           5     have condemned their use. The International Seafood Sustainability Project has also
                                                                           6     estimated that the average bycatch rate for longline fishing is more than 20% of the
                                                                           7     total catch.43
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                                                                           8              33. Greenpeace has listed ALDI among the bottom eleven tuna brands
                                                                           9     based on its use of longline fishing methods in the manufacturing of the Products.44
                                                                           10    Additionally, Greenpeace stated concern about ALDI’s lack of transparency, its use
                                                                           11    of transshipment at sea, and concerns that some of the Products were sourced from
                                                                           12    stocks where there could be high risk of overfishing. 45 In Greenpeace’s 2021 Tuna
                                                                           13    Scorecard, ALDI received failing grades in four out of six categories, including,
                                                                           14    traceability, tuna procurement policy, customer education/labelling, and human
                                                                           15    rights and labor.46
                                                                           16             34. Purse Seine Fishing. ALDI identifies purse seine (free school) fishing
                                                                           17    as the catch method for the tuna in its Northern Catch Chunk Light Tuna in Water,
                                                                           18    as seen in Exhibit 6, supra. Purse seine fishing can easily catch dolphins along with
                                                                           19
                                                                                 42
                                                                           20       Aino Ruusuvuori, Fishery Related Injuries to Cetaceans off the Norwegian Coast
                                                                           21
                                                                                 (2007) (B.A. thesis, Halmstad University) (Semantic Scholar) http://hh.diva-
                                                                                 portal.org/smash/get/diva2:1191646/FULLTEXT02.pdf.
                                                                           22    43
                                                                                    Longline, INTERNATIONAL SEAFOOD SUSTAINABILITY FOUNDATION,
                                                                           23
                                                                                 https://www.iss-foundation.org/tuna-stocks-and-management/tuna-fishing/fishing-
                                                                                 methods/longline/; World Wildlife Foundation,
                                                                           24    www.worldwildlife.org/threats/bycatch
                                                                                 44
                                                                           25       2017 Tuna Shopping Guide, supra at 40.
                                                                                 45
                                                                                    Id. (Transshipment is the practice of fishing vessels of offloading their products
                                                                           26    on other boats at sea, so that those vessels can continue fishing for months or years
                                                                           27    at a time. Transshipment is often associated with concerns about illegal fishing and
                                                                                 human rights violations.)
                                                                           28    46
                                                                                    Josh Stride, The High Cost of Cheap Tuna: U.S. Supermarkets, Sustainability, and
                                                                                 Human Rights at Sea, GREENPEACE (2021), p. 29.
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                                                                           1     the targeted tuna school.47 Historically, fishing vessels used a practice called
                                                                           2     “setting on dolphins,” which involved using dolphins as a visual cue to lead the boat
                                                                           3     towards schooling fish.48 “Once the netting has been set, encircled marine mammals
                                                                           4     cannot escape and can become entangled, injured, or stressed. Even with quick
                                                                           5     retrieval, marine mammals' sensitive bodies and internal organs cannot usually
                                                                           6     withstand the weight of the catch or the impact of being placed on the vessel.”49
                                                                           7              35. Purse Seine fishing has had a devastating impact on the dolphin
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                                                                           8     population. From 1960 to 1970, it is estimated that between 200,000 and 400,000
                                                                           9     dolphins were killed annually as a result of the “setting on dolphins” practice for
                                                                           10    purse seine fishing. 50 This amount has likely increased as the demand for tuna
                                                                           11    products has risen.
                                                                           12             36. More recently, “the Western and Central Pacific Fisheries Commission
                                                                           13    has reviewed cetacean interactions in its purse seine fishery, estimating 281 false
                                                                           14    killer whale mortalities in 2009.”51 False killer whales are currently listed as a “Near
                                                                           15    Threatened” species according to the International Union for Conservation of
                                                                           16    Nature and Natural Resources Red List of Threatened Species.52
                                                                           17             37. Like the Defendant, other tuna manufacturers try to justify the use of
                                                                           18    purse seine fishing methods by differentiating a “free schooling” method versus a
                                                                           19    Fish Aggregating Devices (“FAD”) method. The free schooling purse seine fishing
                                                                           20    method involves using visual cues, like searching for seabirds or dolphins that hunt
                                                                           21

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                                                                           24    47
                                                                                    Fishing Gear: Purse Seines, supra at 18.
                                                                                 48
                                                                           25       Id.
                                                                                 49
                                                                                    Id.
                                                                           26    50
                                                                                    “Net Loss: The Killing of Marine Mammals in Foreign Fisheries,” supra at 22,
                                                                           27    pg. 9.
                                                                                 51
                                                                                    Id. at 19.
                                                                           28    52
                                                                                    False Killer Whales, IUCN RED LIST,
                                                                                 https://www.iucnredlist.org/species/18596/145357488
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                                                                           1     schools of fish, and directing the vessel towards them to deploy the net.53 FAD
                                                                           2     purse seine fishing methods involve a floating object, under which fish and marine
                                                                           3     mammals congregate, that the vessel then deploys its nets around. 54 Ultimately any
                                                                           4     fishing method that involves a net cannot be truly “DOLPHIN SAFE.” 55
                                                                           5              38. The free-school purse seine fishing method is not “DOLPHIN SAFE.”
                                                                           6     Historically, dolphins were used to find these free-schools of tuna in a practice
                                                                           7     called “setting on dolphins.”56 That is because of the unique relationship between
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                                                                           8     dolphins and tuna. For example, “[a]long the western coast of the Americas, dolphin
                                                                           9     species are often followed by yellowfin tuna. . . .”57 When purse seine nets are
                                                                           10    released around the free-schooling tuna, there is an entanglement risk to the
                                                                           11    dolphins that are often found with those schools of tuna.58 Entanglement is the
                                                                           12    greatest threat surrounding net fishing. 59 Dolphins get tangled in the nets and drown
                                                                           13    before they are able to get free. 60 Additionally, if the dolphin manages to get free
                                                                           14    from the net, the ropes can cause lacerations that can lead to death soon thereafter.61
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                                                                                    Purse Seine, BYCATCH MANAGEMENT INFORMATION SYSTEM, https://www.bmis-
                                                                                 bycatch.org/fishing-gear/purse-
                                                                           18    seine#:~:text=A%20purse%20seine%20is%20a,through%20rings%20along%20the
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                                                                           20       Alex Renton, Time to Change Your Tuna?, THE GUARDIAN (Aug. 18, 2008),
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                                                                                 nwesttunatinne#:~:text=If%20you%20really%20want%20to,to%20the%20different
                                                                           22    %20fishing%20methods.
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                                                                                    Fishing Gear: Purse Seines, supra at 18.
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                                                                                    Fiona Mulhern, The Tuna Dolphin Tragedy, INTERNATIONAL MARINE MAMMAL
                                                                           24    PROJECT (2022), https://savedolphins.eii.org/news/the-tuna-dolphin-tragedy
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                                                                           25       Katie Pavid, Whales and dolphins are getting stuck in fishing nets around the UK,
                                                                                 NATURAL HISTORY MUSEUM (February 6, 2019),
                                                                           26    https://www.nhm.ac.uk/discover/news/2019/february/whales-and-dolphins-are-
                                                                           27    getting-stuck-in-fishing-nets-around-the.html
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                                                                                    Id.
                                                                           28    60
                                                                                    Id.
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                                                                                    Id.
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                                                                           1              39. Monofilament Lines and Circle Hooks. Monofilament, or nylon, lines
                                                                           2     are used in the commercial fishing industry. Monofilament lines are used for both
                                                                           3     the mainline (the longline) and branchlines (which hang off the main longline).
                                                                           4     Circle hooks are fishing hooks that are curved back into a circular shape, which
                                                                           5     decreases the likelihood that the hooks will be swallowed by fish and cetaceans
                                                                           6     alike. 62 According to its Seafood Buying Policy, Defendant claims that it gives
                                                                           7     preference to suppliers using longlines with “circle hooks with mono-filament
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                                                                           8     lines,” yet none of Defendant’s longline suppliers, detailed infra, identify that they
                                                                           9     use monofilament lines or circle hooks. These methods are also not “Dolphin Safe”
                                                                           10    because they do not prevent dolphin bycatch or harm to dolphins. 63,64,65,66
                                                                           11    62
                                                                                    Circle hooks - benefits and tips, DEPARTMENT OF PRIMARY INDUSTRIES,
                                                                           12    https://www.dpi.nsw.gov.au/fishing/recreational/fishing-skills/catch-and-
                                                                           13    release/circle-hooks-benefits-and-tips
                                                                                 63
                                                                                    ALDI US Sustainable Seafood Policy, ALDI,
                                                                           14    https://corporate.ALDI.us/fileadmin/fm-
                                                                           15    dam/Corporate_Responsibility2/ALDI_US_Seafood_Buying_Policy__2016_update
                                                                                 __FOR_WEBSITE_1_.PDF
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                                                                                    Tuna Bycatch – A Case for Circle Hooks, WWF (2011),
                                                                           17    https://wwf.panda.org/wwf_news/?202335/Tuna-Bycatch--A-Case-for-Circle-
                                                                                 Hooks
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                                                                                    See Albacore Indian Ocean: China Longlines, FISH SOURCE,
                                                                           19    https://www.fishsource.org/fishery_page/5317; Albacore Indian Ocean: Taiwan
                                                                                 Longlines, FISH SOURCE, https://www.fishsource.org/fishery_page/5319; Albacore
                                                                           20    Indian Ocean: Indonesia Longlines, FISH SOURCE,
                                                                           21    https://www.fishsource.org/fishery_page/1835; Albacore Indian Ocean: Indonesia
                                                                                 Handlines, FISH SOURCE, https://www.fishsource.org/fishery_page/6199; Albacore
                                                                           22    Indian Ocean: Indonesia Trolling Lines, FISH SOURCE,
                                                                           23    https://www.fishsource.org/fishery_page/6850; Albacore South Atlantic: Taiwan
                                                                                 Longlines, FISH SOURCE, https://www.fishsource.org/fishery_page/5321
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                                                                                    See Albacore South Pacific: China Longlines, FISH SOURCE,
                                                                           25    https://www.fishsource.org/fishery_page/2175; Albacore South Pacific: Taiwan
                                                                                 Longlines, FISH SOURCE, https://www.fishsource.org/fishery_page/2181; Albacore
                                                                           26    South Pacific: China Longlines, FISH SOURCE,
                                                                           27    https://www.fishsource.org/fishery_page/5118; Albacore South Pacific: Fiji
                                                                                 Longlines, FISH SOURCE, https://www.fishsource.org/fishery_page/2209; Albacore
                                                                           28    South Pacific: Taiwan Longlines, FISH SOURCE,

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                                                                           1              40. Fishing practices that harm dolphins are not limited to the Pacific
                                                                           2     Ocean. Marine conservation organizations estimate that between 6,000 and 10,000
                                                                           3     dolphins are killed every year off the western coast of France. 67 Most of the
                                                                           4     dolphins caught during the hauling process usually die by the time they reach the
                                                                           5     fishing vessel; those that survive the initial catch are usually killed by the fishermen
                                                                           6     before being thrown overboard back into the sea. 68
                                                                           7              41. In addition to the dangers posed by entanglement in fishing gear,
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                                                                           8     ingestion of fishing gear is often lethal for cetaceans because it can damage the
                                                                           9     animals’ interior organs. In a study of bottlenose dolphins, seven out of twelve
                                                                           10    ingestion cases lead to the death of the animal. 69
                                                                           11             42. The economic costs associated with marine mammal depredation of
                                                                           12    longlines (fish removed from fishing gear by predators during hauling) have led
                                                                           13    fishermen to harass and kill dolphins by shooting them, using explosives, or
                                                                           14    otherwise employing harmful measures to avoid depredation and gear damage. 70
                                                                           15    Besides the obvious dangers of serious injury and death that such practices impose
                                                                           16    on dolphin pods globally, they also have the potential to alter the distribution of
                                                                           17    dolphin populations, forcing them away from their usual feeding grounds and
                                                                           18    negatively impacting the fitness of entire pods (e.g., lowering the rates of successful
                                                                           19    reproduction and increasing the pods’ susceptibility to diseases). 71
                                                                           20             43. Pole and Line Fishing. ALDI identifies pole and line fishing, in
                                                                           21    addition to longline fishing, as the catch method for the tuna in its Northern Catch
                                                                           22    Solid White Tuna Albacore in Water, as identified in Exhibit 7, supra. Pole and line
                                                                           23
                                                                           24    https://www.fishsource.org/fishery_page/5120; Albacore South Pacific: Vanuatu
                                                                           25    Longlines, FISH SOURCE, https://www.fishsource.org/fishery_page/5305
                                                                                 67
                                                                                    About Operation Bycatch, SEA SHEPHERD,
                                                                           26    https://www.seashepherdglobal.org/our-campaigns/dolphin-bycatch/learn-more/
                                                                                 68
                                                                           27       Id.
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                                                                                    Ruusuvuori, supra at 42.
                                                                           28    70
                                                                                    Id.
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                                                                                    Id.
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                                                                           1     fishing involves catching one fish at a time. 72 Often, a fishing vessel will pump
                                                                           2     water off the end of the boat along with bait fish to work up a school of tuna into a
                                                                           3     feeding frenzy that causes them to bite anything they see. 73 Fishermen then stand at
                                                                           4     the back of the boat with poles and flick fish into the boat that bite their lines. 74
                                                                           5     Handlines do not require the use of a pole or a reel, but are instead pulled in by
                                                                           6     hand. 75 Each line has a single baited hook and it is up the to the fisherman to use his
                                                                           7     strength to pull in one fish at a time. 76 Hook and line is a general term to describe
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                                                                           8     fishing methods that involve any sort of fishing that involves a line and hook.77 It
                                                                           9     can include the use of a pole or by hand. 78 Pole and line fishing only accounts for
                                                                           10    ten percent of tuna caught today.79 It is more labor intensive and expensive than
                                                                           11    other commercial fishing methods.80 Defendant does not indicate how much of its
                                                                           12    tuna for the Northern Catch Solid White Tuna Albacore in Water is sourced using
                                                                           13    the pole and line method compared to the other methods it uses, but globally this
                                                                           14    method only makes up seven percent of all tuna caught.81
                                                                           15             44. Bycatch. “Bycatch” refers to marine life unintentionally caught and
                                                                           16    often killed during commercial fishing for a different species. Marine mammals
                                                                           17
                                                                                 72
                                                                                    Pole and Line, MARINE STEWARDSHIP COUNCIL, https://www.msc.org/what-we-
                                                                           18    are-doing/our-approach/fishing-methods-and-gear-types/pole-and-line
                                                                                 73
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                                                                                    Id.
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                                                                           20       Handline, SOURING TRANSPARENCY PLATFORM,
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                                                                                 https://sourcingtransparencyplatform.org/index.php/gear-types/handline
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                                                                                    Fishing Gear Types 101: Longlines & Hook and Line, MONTEREY BAY FISHERIES
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                                                                                 TRUST, https://montereybayfisheriestrust.org/stories/gear-types/longlines
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                                                                                    Id.
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                                                                                    Amy McDermott, Attention shoppers: “Pole and line” is today’s eco-friendliest
                                                                           25    label for canned tuna, OCEANA, https://oceana.org/blog/attention-shoppers-pole-
                                                                                 and-line-todays-eco-friendliest-label-canned-tuna/
                                                                           26    80
                                                                                    Id.
                                                                                 81
                                                                           27       In pole-and-line fishing, tuna are caught one-by-one using a hook attached to a
                                                                                 line and pole, INTERNATIONAL SEAFOOD SUSTAINABILITY FOUNDATION,
                                                                           28    https://www.iss-foundation.org/tuna-stocks-and-management/tuna-fishing/fishing-
                                                                                 methods/pole-line/
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                                                                           1     such as Risso’s dolphins, bottlenose dolphins, and false killer whales are often
                                                                           2     entangled or hooked on longline gear and consequently injured or killed. Such
                                                                           3     injuries include, but are not limited to, lacerations, puncture wounds, exhaustion,
                                                                           4     and drowning.82 The average bycatch rate for longlines is more than twenty percent
                                                                           5     of the total catch.83
                                                                           6              45. Up to 40% of all fish caught worldwide are designated as “bycatch” and
                                                                           7     are subsequently killed or significantly injured before being returned to the water. 84
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                                                                           8     Marine mammals such as dolphins and whales caught as bycatch are unable to
                                                                           9     surface for air, causing suffocation and painful death. 85 This troubling number of
                                                                           10    bycatch results in the death of roughly 300,000 dolphins and whales each year, 86 the
                                                                           11    vast majority of which are dolphins.87
                                                                           12             46. Commercial fishermen are incentivized to underreport bycatch, which is
                                                                           13    facilitated by rampant lack of accountability and widespread unreliable reporting on
                                                                           14    bycatch. In fact, in 2005, less than half of the fishing vessels around the world
                                                                           15    recorded quantitative statistics on annual bycatch. 88
                                                                           16
                                                                                 82
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                                                                                    Fishing Gear: Pelagic Longlines, NOAA FISHERIES,
                                                                                 https://www.fisheries.noaa.gov/national/bycatch/fishing-gear-pelagic-
                                                                           18    longlines#:~:text=Risks%20to%20Marine%20Mammals,-
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                                                                                 Marine%20mammals%20are&text=Risso's%20dolphins%2C%20bottlenose%20dol
                                                                                 phins%2C%20and,wounds%2C%20exhaustion%2C%20and%20drowning
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                                                                           20       Longline, supra at 43.
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                                                                                    See Bycatch: A Sad Topic, WWF, https://www.fishforward.eu/en/project/by-
                                                                                 catch/; A Third Assessment of Global Marine Fisheries Discards, FOOD AND
                                                                           22    AGRICULTURE ORGANIZATION OF THE UNITED NATIONS (2018),
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                                                                                 https://www.fao.org/documents/card/en/c/CA2905EN/; Dirk Zeller, et at., Global
                                                                                 Marine Fisheries Discards: A Synthesis of Reconstructed Data, 19 FISH AND
                                                                           24    FISHERIES 1, 30-39 (June 26, 2017).
                                                                                 85
                                                                           25       Id.
                                                                                 86
                                                                                    Catching Fish, Not Flukes and Flippers: A Global Effort to Reduce Whale and
                                                                           26    Dolphin Bycatch, WORLD WILDLIFE FOUNDATION,
                                                                           27    https://wwf.panda.org/discover/knowledge_hub/endangered_species/cetaceans/threa
                                                                                 ts/bycatch/?
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                                                                                    Ebersole, supra at 38.
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                                                                                    Keledjian, supra at 22.
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                                                                           1              47. This problem holds true in the United States as well. Despite federal
                                                                           2     legislation such as the Magnuson-Stevens Act requiring detailed reporting on
                                                                           3     bycatch statistics by U.S. fisheries, there are too few unbiased reporters onboard
                                                                           4     fishing vessels to get an accurate metric of annual bycatch.
                                                                           5              48. Exacerbating this problem is the lack of governmental reporting. The
                                                                           6     U.S. National Marine Fisheries Service last provided an update to its U.S. National
                                                                           7     Bycatch Report in 2019, but this update was based on data from 2014 and 2015.89
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                                                                           8              49. A recent report found that “only four out of hundreds of U.S. fisheries
                                                                           9     are meeting the recommended standards for the statistical accuracy and validity of
                                                                           10    their catch data, if they report data at all. 90”
                                                                           11             50. This lack of transparency, combined with the self-policing nature of the
                                                                           12    industry allows major tuna producers and distributors like Defendant to reap the
                                                                           13    benefits of harmful fishing practices all the while advertising their products to
                                                                           14    unsuspecting consumers as “DOLPHIN SAFE.”
                                                                           15             51. Lack of Transparency in Tracking Tuna. Defendant does not have a
                                                                           16    traceability program available for its Products in California or the United States.91
                                                                           17             52.      In 2015, the Sustainable Fisheries Partnership started a reporting
                                                                           18    framework called the Ocean Disclosure Project.92 The Sustainable Fisheries
                                                                           19    Partnership is a group working to “rebuild depleted fish stocks and reduce the
                                                                           20    environmental and social impacts of fishing and fish farming.”93 The Ocean
                                                                           21    Disclosure Project encourages participating organizations to voluntarily disclose
                                                                           22    their sustainability performance, 94 doing nothing more than compiling the data with
                                                                           23    89
                                                                                    Lee R. Benaka, et al., U.S. National Bycatch Report First Edition Update 3, U.S.
                                                                           24    NATIONAL OCEANIC AND ATMOSPHERIC ADMINISTRATION (February 2019), p. v.
                                                                                 90
                                                                           25        Keledjian, supra at 22.
                                                                                 91
                                                                                    Seafood, ALDI US, https://corporate.aldi.us/en/corporate-
                                                                           26    responsibility/sustainability/seafood/
                                                                                 92
                                                                           27       About Us, OCEAN DISCLOSURE PROJECT, https://oceandisclosureproject.org/about-
                                                                                 us
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                                                                                     Sustainable Fisheries Partnership, https://sustainablefish.org/
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                                                                                    Id.
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                                                                           1     no outside verification.95 Defendant participates in the Ocean Disclosure Project,
                                                                           2     where it indicates that it uses twelve Albacore tuna fisheries and eleven Skipjack
                                                                           3     tuna fisheries, the two species of tuna used in its Products. 96
                                                                           4              53. The Ocean Disclosure Project collects information specific to the
                                                                           5     fishery. A fishery is a geographic area that is associated with certain species sought
                                                                           6     by commercial fishing entities. 97 Within each fishery, vessels can be identified by
                                                                           7     the flag they fly.98 Those country flags determine more information about the
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                                                                           8     practices of the vessels flying them in that particular fishery. Some of the
                                                                           9     information included about each fishery is general to the fishery, like its general
                                                                           10    strengths and weaknesses in performance across several factors as a whole group,
                                                                           11    but there can also be more information specific to the country of the vessels within
                                                                           12    the fishery.99
                                                                           13             54. The Ocean Disclosure Project collects facts about environment and
                                                                           14    biodiversity which includes bycatch information. 100 Often, they also collect
                                                                           15    information about how the fishery is doing in regards to observer coverage.
                                                                           16    Observer coverage can be either human or electronic monitoring devices on a fleet
                                                                           17    that records scientific data and ensures the fisheries comply with all rules and
                                                                           18    regulations. 101 According to Resolution 11/04 of the Indian Ocean Tuna
                                                                           19
                                                                                 95
                                                                           20       How ODP Works, OCEAN DISCLOSURE PROJECT,
                                                                           21
                                                                                 https://oceandisclosureproject.org/how-odp-works
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                                                                                    Seafood, supra at 91.
                                                                           22    97
                                                                                    What are Fisheries?, NOAA,
                                                                           23
                                                                                 https://coast.noaa.gov/data/SEAMedia/Presentations/PDFs/Grade%205%20Unit%2
                                                                                 05%20Lesson%204%20What%20are%20fisheries.pdf
                                                                           24    98
                                                                                    How ODP Works, OCEAN DISCLOSURE PROJECT,
                                                                           25    https://oceandisclosureproject.org/how-odp-works
                                                                                 99
                                                                                    See generally https://www.fishsource.org/fishery_page/2732
                                                                           26    100
                                                                                     Id.
                                                                                 101
                                                                           27        Observer Coverage, INTERNATIONAL SEAFOOD SUSTAINABILITY FOUNDATION,
                                                                                 https://www.iss-foundation.org/glossary/observer-
                                                                           28    coverage/#:~:text=Observer%20coverage-
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                                                                           1     Commission, a minimum of five percent per fishing method by fleet is required.102
                                                                           2     Applying this five percent standard, out of the 5.2 million tons of tuna caught in
                                                                           3     2018, only 260,000 tons were caught with observer verified practices. 103
                                                                           4              55. Additionally, the Ocean Disclosure Project will share any Fishery
                                                                           5     Improvement Projects (“FIPs”) that vessels and organizations in that fishery are
                                                                           6     involved in. FIPs follow a guideline from the Conservation Alliance for Seafood
                                                                           7     Solutions.104
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                                                                           8              56. The Conservation Alliance for Seafood Solutions is a collection of over
                                                                           9     100 organizations across the globe “working together to improve the sustainability
                                                                           10    and responsibility of seafood supply chains.”105 According to the Conservation
                                                                           11    Alliance for Seafood Solutions, FIPs are “a multi-stakeholder effort to address
                                                                           12    environmental or social challenges in a fishery.”106 FIPs are conducted as a way for
                                                                           13    fisheries to improve their standards in hopes of achieving certification from the
                                                                           14    Marine Stewardship Council (“MSC”).107
                                                                           15             57. ALDI gets approximately two-thirds of all its wild-caught fish, which
                                                                           16    includes tuna, and seafood from fisheries that do not have any sustainability or
                                                                           17
                                                                           18
                                                                                 102
                                                                           19
                                                                                     FAOLEX Database, FOOD AND AGRICULTURE ORGANIZATION OF THE UNITED
                                                                                 NATIONS, https://www.fao.org/faolex/results/details/en/c/LEX-FAOC165340/
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                                                                           20        Netting Billions 2020: A Global Tuna Valuation, PEW,
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                                                                                 https://www.pewtrusts.org/en/research-and-analysis/reports/2020/10/netting-
                                                                                 billions-2020-a-global-tuna-valuation
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                                                                                     What’s Included?, OCEAN DISCLOSURE PROJECT,
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                                                                                 https://oceandisclosureproject.org/whats-included
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                                                                                     CONSERVATION ALLIANCE FOR SEAFOOD SOLUTIONS,
                                                                           24    https://solutionsforseafood.org/
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                                                                           25        Fishery Improvement Project Guidelines, CONSERVATION ALLIANCE FOR
                                                                                 SEAFOOD SOLUTIONS, https://solutionsforseafood.org/our-work/fishery-
                                                                           26    improvement-projects-guidelines/
                                                                                 107
                                                                           27        Guidelines for Supporting Fishery Improvement Project, CONSERVATION
                                                                                 ALLIANCE FOR SEAFOOD SOLUTIONS, https://solutionsforseafood.org/wp-
                                                                           28    content/uploads/2021/10/Conservation-Alliance-for-Seafood-Solutions-Guideines-
                                                                                 for-Supporting-Fishery-Improvement-Projects-Jan-2021.pdf
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                                                                           1     environmental certifications from the MSC. 108 The remaining one-third of the
                                                                           2     source fisheries that are certified are being certified to low standards. The MSC is a
                                                                           3     non-profit organization that aims to set standards for sustainable fishing. Although
                                                                           4     the MSC purports that their blue fish label provides an “assurance” that the seafood
                                                                           5     product “came from a certified sustainable fishery,”109 there is growing concern
                                                                           6     among industry watchdogs that the bar for MSC approval has been dropped to low:
                                                                           7     “critics suggest the [MSC acceptance] bar has been dropped unacceptably low in
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                                                                           8     order to satisfy ever-growing market demand by getting more (generally large
                                                                           9     industrial) fisheries into the program . . . [c]oncerns around lowering of the bar have
                                                                           10    resulted in several objections to recent fishery certifications and in published
                                                                           11    critiques of the MSC’s Standard and its application.”110
                                                                           12             58. Fisheries that supply tuna for ALDI’s Northern Catch Solid White
                                                                           13    Tuna Albacore in Water. Albacore tuna is the species of tuna used in the Northern
                                                                           14    Catch Solid White Tuna Albacore in Water Product. See Exhibit 7, supra. The
                                                                           15    Ocean Disclosure Project identifies the fisheries that Defendant uses to supply the
                                                                           16    Albacore tuna in its Products by their “Tuna Species – Location – Vessel Flag –
                                                                           17    Fishing Method,” as follows:111
                                                                           18                a. Albacore – Indian Ocean – China – Longlines. This fishery uses
                                                                           19                     logbooks on its vessels as its method for reporting bycatch, but admits
                                                                           20
                                                                           21

                                                                           22    108
                                                                                     Buy Sustainable Seafood, MARINE STEWARDSHIP COUNCIL,
                                                                           23
                                                                                 https://www.msc.org/what-you-can-do/buy-sustainable-seafood
                                                                                 109
                                                                                     Learn More, MARINE STEWARDSHIP COUNCIL, https://www.msc.org/en-
                                                                           24    us?gclid=CjwKCAjwiJqWBhBdEiwAtESPaJ8EaNNatf0Rvn3DjAXptZNtUrLRsGS
                                                                           25    cWsFCmKpEMUMXwk0qg5CIwRoCLpwQAvD_BwE.
                                                                                 110
                                                                                     Amy Hammond & Callum Roberts, Why The Marine Stewardship Council Needs
                                                                           26    an Independent Review, ETHICAL CONSUMER (July 26, 2021), https://fcf.com.tw/wp-
                                                                           27    content/uploads/2021/12/1-FCF-Tuna-Sustainability-Policy_v3.1-FCF-T-R-E-
                                                                                 001.pdf.
                                                                           28    111
                                                                                     ALDI US, OCEAN DISCLOSURE PROJECT,
                                                                                 https://oceandisclosureproject.org/companies/aldi-us
                                                                                Error! Unknown document property name.             31
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                                                                           1                      that the records for bycatch are not high quality. 112 This fishery only
                                                                           2                      maintains observer coverage on vessels right above five percent, the
                                                                           3                      minimum required by Resolution 11/04. 113 They claim to be involved
                                                                           4                      with bycatch mitigation initiatives from the ISSF, but have yet to
                                                                           5                      develop or adopt any of the National Plan of Actions for specific
                                                                           6                      bycatch species. 114
                                                                           7                 b. Albacore – Indian Ocean – Taiwan – Longlines. This fishery
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                                                                           8                      currently requires catch data to be provided daily in an electronic
                                                                           9                      logbook. 115 Additionally this fishery requires vessels to install Vessel
                                                                           10                     Monitoring Systems and conducts random inspections on vessels. 116
                                                                           11                     However, since 2014, these vessels only have between five to nine
                                                                           12                     percent observer coverage.117 Longlines, a fishing method known to kill
                                                                           13                     and harm dolphins as described supra, is the only fishing method used
                                                                           14                     in this fishery for tuna. 118 This fishery has no certifications.119
                                                                           15                c. Albacore – Indian Ocean – Indonesia – Longlines. This fishery
                                                                           16                     requires all vessels above 5GT (Gross Tonnage) to submit logbooks to
                                                                           17                     port authority and all vessels above 30GT to be equipped with Vessel
                                                                           18                     Monitoring Systems. 120 However, this fishery currently has less than one
                                                                           19                     percent observer coverage and at the one port that conducts inspections,
                                                                           20
                                                                           21    112
                                                                                     Albacore Indian Ocean: China Longlines, FISH SOURCE,
                                                                           22    https://www.fishsource.org/fishery_page/5317
                                                                                 113
                                                                           23
                                                                                     Id.
                                                                                 114
                                                                                     Id.
                                                                           24    115
                                                                                     Albacore Indian Ocean: Taiwan Longlines, FISH SOURCE,
                                                                           25    https://www.fishsource.org/fishery_page/5319
                                                                                 116
                                                                                     Id.
                                                                           26    117
                                                                                     Id.
                                                                                 118
                                                                           27        Id.
                                                                                 119
                                                                                     Id.
                                                                           28    120
                                                                                     Albacore Indian Ocean: Indonesia Longlines, FISH SOURCE,
                                                                                 https://www.fishsource.org/fishery_page/1835
                                                                                Error! Unknown document property name.             32
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                                                                           1                      only fifty percent of landings were being sampled.121 This fishery has no
                                                                           2                      certifications.122
                                                                           3                 d. Albacore – Indian Ocean – Indonesia – Handlines and Pole-Lines.
                                                                           4                      This fishery requires all vessels above 5GT to submit logbooks to port
                                                                           5                      authority and all vessels above 30GT to be equipped with Vessel
                                                                           6                      Monitoring Systems. 123 However, this fishery currently has less than one
                                                                           7                      percent observer coverage and at the one port that conducts inspections,
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                                                                           8                      only fifty percent of landings were being sampled.124 In 2019, this
                                                                           9                      fishery had 341 total registered vessels, of which 264 were longliners
                                                                           10                     and 77 were purse seiners, meaning no vessel was registered that
                                                                           11                     utilized fishing methods not harmful to dolphins. 125 This fishery is not
                                                                           12                     involved with any FIPs, nor has any certifications.126
                                                                           13                e. Albacore – Indian Ocean – Indonesia – Trolling Lines. This fishery
                                                                           14                     requires all vessels above 5GT to submit logbooks to port authority and
                                                                           15                     all vessels above 30GT to be equipped with Vessel Monitoring
                                                                           16                     Systems. 127 However, this fishery currently has less than one percent
                                                                           17                     observer coverage and at the one port that conducts inspections, only
                                                                           18                     fifty percent of landings were being sampled.128 In 2019, this fishery had
                                                                           19                     had 341 total registered vessels, 264 were longliners and 77 were purse
                                                                           20                     seiners; no vessel was registered with as trolling lines only. 129 Trolling
                                                                           21

                                                                           22    121
                                                                                     Id.
                                                                                 122
                                                                           23
                                                                                     Id.
                                                                                 123
                                                                                     Albacore Indian Ocean: Indonesia Handlines, FISH SOURCE,
                                                                           24    https://www.fishsource.org/fishery_page/6199
                                                                                 124
                                                                           25        Id.
                                                                                 125
                                                                                     Id.
                                                                           26    126
                                                                                     Id.
                                                                                 127
                                                                           27        Albacore Indian Ocean: Indonesia Trolling Lines, FISH SOURCE,
                                                                                 https://www.fishsource.org/fishery_page/6850
                                                                           28    128
                                                                                     Id.
                                                                                 129
                                                                                     Id.
                                                                                Error! Unknown document property name.             33
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                                                                           1                      line fishing is when a vessel pulls several baited lines behind the
                                                                           2                      vessel. 130 Trolling line fishing does not prevent dolphin bycatch or harm
                                                                           3                      to dolphins since with any hook and line fishing method, marine animals
                                                                           4                      may catch onto the baited hooks which then become embedded in their
                                                                           5                      mouths or elsewhere. 131 This fishery is not involved with any FIPs, nor
                                                                           6                      has any certifications. 132
                                                                           7                 f. Albacore – South Atlantic – Taiwan – Longlines. Very little is
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                                                                           8                      reported about this fishery in relation to bycatch. It is noted that
                                                                           9                      observer coverage is low at only five percent and there are reports of
                                                                           10                     interactions with threatened and endangered species. 133
                                                                           11                g. Albacore – South Pacific/IATTC – China – Longlines. It is reported
                                                                           12                     that this fishery follows the Western Central Fisheries Commission’s
                                                                           13                     management measures which include sections on bycatch mitigation. 134
                                                                           14                     However, there can be no assessment of bycatch rates because scarce
                                                                           15                     data is reported to be able to differentiate by member.135 It is reported as
                                                                           16                     a weakness that there is low observer coverage. 136
                                                                           17                h. Albacore – South Pacific/IATTC – Taiwan – Longlines. It is reported
                                                                           18                     that this fishery follows the Western Central Fisheries Commission’s
                                                                           19                     management measures which include sections on bycatch mitigation. 137
                                                                           20
                                                                                 130
                                                                           21
                                                                                     Trolling Lines, FOOD AND AGRICULTURE ORGANIZATION OF THE UNITED
                                                                                 NATIONS, https://www.fao.org/fishery/en/geartype/235/en
                                                                           22    131
                                                                                     Trolling, FISH COUNT, http://fishcount.org.uk/fish-welfare-in-commercial-
                                                                           23
                                                                                 fishing/capture/trolling
                                                                                 132
                                                                                     Albacore Indian Ocean: Indonesia Trolling Lines, supra at 130.
                                                                           24    133
                                                                                     Albacore South Atlantic: Taiwan Longlines, FISH SOURCE,
                                                                           25    https://www.fishsource.org/fishery_page/5321
                                                                                 134
                                                                                     Albacore South Pacific: China Longlines, FISH SOURCE,
                                                                           26    https://www.fishsource.org/fishery_page/2175
                                                                                 135
                                                                           27        Id.
                                                                                 136
                                                                                     Id.
                                                                           28    137
                                                                                     Albacore South Pacific: Taiwan Longlines, FISH SOURCE,
                                                                                 https://www.fishsource.org/fishery_page/2181
                                                                                Error! Unknown document property name.             34
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                                                                           1                      However, there can be no assessment of bycatch rates because scarce
                                                                           2                      data is reported to be able to differentiate by member.138 It is reported as
                                                                           3                      a weakness that there is low observer coverage. 139 This fishery has no
                                                                           4                      certifications.140
                                                                           5                 i. Albacore – South Pacific/WCPFC – China – Longlines. It is reported
                                                                           6                      that this fishery follows the Western Central Fisheries Commission’s
                                                                           7                      management measures which include sections on bycatch mitigation. 141
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                                                                           8                      However, there can be no assessment of bycatch rates because scarce
                                                                           9                      data is reported to be able to differentiate by member.142 A suggested
                                                                           10                     improvement for this fishery is to make sure it at least meets minimum
                                                                           11                     requirements for observer coverage and bycatch reporting. 143
                                                                           12                j. Albacore – South Pacific/WCPFC – Fiji – Longlines. It is reported
                                                                           13                     that this fishery follows the Western Central Fisheries Commission’s
                                                                           14                     management measures which include sections on bycatch mitigation. 144
                                                                           15                     However, there can be no assessment of bycatch rates because scarce
                                                                           16                     data is reported to be able to differentiate by member.145 It is also noted
                                                                           17                     that reporting is vulnerable to errors and verification issues because it is
                                                                           18                     paper based and there is limited observer coverage, sometimes even less
                                                                           19                     than five percent.146
                                                                           20
                                                                           21

                                                                           22    138
                                                                                     Id.
                                                                                 139
                                                                           23
                                                                                     Id.
                                                                                 140
                                                                                     Id.
                                                                           24    141
                                                                                     Albacore South Pacific: China Longlines, FISH SOURCE,
                                                                           25    https://www.fishsource.org/fishery_page/5118
                                                                                 142
                                                                                     Id.
                                                                           26    143
                                                                                     Id.
                                                                                 144
                                                                           27        Albacore South Pacific: Fiji Longlines, FISH SOURCE,
                                                                                 https://www.fishsource.org/fishery_page/2209
                                                                           28    145
                                                                                     Id.
                                                                                 146
                                                                                     Id.
                                                                                Error! Unknown document property name.             35
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                                                                           1                 k. Albacore – South Pacific/WCPFC – Taiwan – Longlines. It is
                                                                           2                      reported that this fishery follows the Western Central Fisheries
                                                                           3                      Commission’s management measures which include sections on bycatch
                                                                           4                      mitigation.147 However, this fishery accounts for a high volume of
                                                                           5                      bycatch, peaking at 65,602 megatons in 2019, with eight different
                                                                           6                      species reported. 148
                                                                           7                 l. Albacore – South Pacific/WCPFC – Vanuatu – Longlines. It is
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                                                                           8                      reported that this fishery follows the Western Central Fisheries
                                                                           9                      Commission’s management measures which include sections on bycatch
                                                                           10                     mitigation.149 However, there can be no assessment of bycatch rates
                                                                           11                     because scarce data is reported to be able to differentiate by member. 150
                                                                           12                     It is also noted that reporting is vulnerable to errors and verification
                                                                           13                     issues because it is paper based and there is limited observer coverage,
                                                                           14                     sometimes even less than five percent. 151
                                                                           15             59. Fisheries that supply tuna for ALDI’s Northern Catch Chunk Light
                                                                           16    Tuna in Water. Skipjack tuna is the species of tuna used in the Northern Catch
                                                                           17    Chunk Light Tuna in Water Product. See Exhibit 6, supra. The Ocean Disclosure
                                                                           18    Project identifies the fisheries that Defendant uses to supply the Skipjack tuna used
                                                                           19    in its Products by their “Tuna Species – Location – Vessel Flag – Fishing Method,”
                                                                           20    as follows:152
                                                                           21                a. Skipjack – Indian Ocean – Indonesia – Pole-lines. This fishery
                                                                           22                     reports that there are only a few pole and line studies conducted so data
                                                                           23    147
                                                                                     Albacore South Pacific: Taiwan Longlines, FISH SOURCE,
                                                                           24    https://www.fishsource.org/fishery_page/5120
                                                                                 148
                                                                           25        Id.
                                                                                 149
                                                                                     Albacore South Pacific: Vanuatu Longlines, FISH SOURCE,
                                                                           26    https://www.fishsource.org/fishery_page/5305
                                                                                 150
                                                                           27        Id.
                                                                                 151
                                                                                     Id.
                                                                           28    152
                                                                                     ALDI US, OCEAN DISCLOSURE PROJECT,
                                                                                 https://oceandisclosureproject.org/companies/aldi-us
                                                                                Error! Unknown document property name.             36
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                                                                           1                      is limited and the number of vessels using pole and line is unbalanced to
                                                                           2                      the amount of production.153 It is reported that this fishery is only
                                                                           3                      partially compliant with submission of mandatory statistics.154
                                                                           4                      Additionally, it has an observer coverage less than five percent.155 This
                                                                           5                      fishery has no certifications.156
                                                                           6                 b. Skipjack – Indian Ocean – Maldives – Pole-lines. This fishery is
                                                                           7                      reported to pole-line fish around FADs, which can lead to bycatch. 157
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                                                                           8                      Additionally, scientists and researchers are unable to draw credible
                                                                           9                      conclusions on dolphin and other marine bycatch because there is a lack
                                                                           10                     of scientific data on interactions with non-target species. 158 This fishery
                                                                           11                     is not part of any FIPs and has one certification from the MSC. 159
                                                                           12                c. Skipjack –Western and Central Pacific Ocean – Indonesia – Pole-
                                                                           13                     lines. This fishery has seen a decline in registered pole-line vessels from
                                                                           14                     thirteen vessels in 2018 to zero vessels in 2019.160 Additionally, this
                                                                           15                     fishery is not implementing the full observer program as is required and
                                                                           16                     is breaching several regulations on the conservation of marine mammal
                                                                           17                     bycatch, which would include dolphins.161
                                                                           18                d. Skipjack –Western and Central Pacific Ocean – China – FAD-free
                                                                           19                     Purse Seine. This fishery requires logs to be kept about catches of
                                                                           20                     protected marine mammals but it is filled out only by the master of the
                                                                           21    153
                                                                                     Skipjack Tuna Indian Ocean: Indonesia Pole-lines, FISH SOURCE,
                                                                           22    https://www.fishsource.org/fishery_page/2729
                                                                                 154
                                                                           23
                                                                                     Id.
                                                                                 155
                                                                                     Id.
                                                                           24    156
                                                                                     Id.
                                                                                 157
                                                                           25        Skipjack Tuna Indian Ocean: Maldives Pole-lines, FISH SOURCE,
                                                                                 https://www.fishsource.org/fishery_page/2732
                                                                           26    158
                                                                                     Id.
                                                                                 159
                                                                           27        Id.
                                                                                 160
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: Indonesia Pole-lines, FISH
                                                                           28    SOURCE, https://www.fishsource.org/fishery_page/2737
                                                                                 161
                                                                                     Id.
                                                                                Error! Unknown document property name.             37
                                                                                                                         CLASS ACTION COMPLAINT
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                                                                           1                      vessel which could lead to inaccuracy and under reporting. 162 This
                                                                           2                      fishery is currently in violation of reporting transshipments and being
                                                                           3                      over catch limits.163 Despite its violations, this fishery is part of one FIP
                                                                           4                      and has two MSC certifications, further demonstrating that such
                                                                           5                      certifications are inconsequential.164
                                                                           6                 e. Skipjack –Western and Central Pacific Ocean – Kiribati – FAD-free
                                                                           7                      Purse Seine. This fishery is part of the Western Central Pacific
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                                                                           8                      Fisheries Commission. 165 Currently, the Western Central Pacific
                                                                           9                      Fisheries Commission has no body that is monitoring and assessing the
                                                                           10                     reported interactions with marine mammals. 166
                                                                           11                f. Skipjack –Western and Central Pacific Ocean – South Korea –
                                                                           12                     FAD-free Purse Seine. This fishery is part of the Western Central
                                                                           13                     Pacific Fisheries Commission. 167 This fishery has reported incidental
                                                                           14                     catching of marine mammals, and not all were released alive. 168
                                                                           15                     Additionally the data is not presented in a way that allows for fishery
                                                                           16                     wide estimates. 169
                                                                           17                g. Skipjack –Western and Central Pacific Ocean – Marshall Islands –
                                                                           18                     FAD-free Purse Seine. This fishery is part of the Western Central
                                                                           19                     Pacific Fisheries Commission. 170 This fishery combines its FAD-free
                                                                           20
                                                                                 162
                                                                           21
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: China Purse Seine, FISH
                                                                                 SOURCE, https://www.fishsource.org/fishery_page/5455
                                                                           22    163
                                                                                     Id.
                                                                                 164
                                                                           23
                                                                                     Id.
                                                                                 165
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: Kiribati Purse Seine, FISH
                                                                           24    SOURCE, https://www.fishsource.org/fishery_page/5056
                                                                                 166
                                                                           25        Id.
                                                                                 167
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: South Korea Purse Seine,
                                                                           26    FISH SOURCE, https://www.fishsource.org/fishery_page/5052
                                                                                 168
                                                                           27        Id.
                                                                                 169
                                                                                     Id.
                                                                           28    170
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: Marshall Island Purse Seine,
                                                                                 FISH SOURCE, https://www.fishsource.org/fishery_page/5057
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                                                                           1                      and FAD purse seine bycatch data.171 This fishery is not involved in any
                                                                           2                      FIPs and has no MSC certifications.172
                                                                           3                 h. Skipjack –Western and Central Pacific Ocean – Nauru – FAD-free
                                                                           4                      Purse Seine. This fishery is part of the Western Central Pacific Fishery
                                                                           5                      Commission. 173 Currently, the Western Central Pacific Fishery
                                                                           6                      Commission has no body that is monitoring and assessing the reported
                                                                           7                      interactions with marine mammals. 174
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                                                                           8                 i. Skipjack –Western and Central Pacific Ocean – Solomon Islands –
                                                                           9                      FAD-free Purse Seine. This fishery was found to be in breach of the
                                                                           10                     obligation to have Video Monitoring Systems installed on its fishing
                                                                           11                     fleets. 175 This fishery is required to report on catches and interactions
                                                                           12                     with certain marine mammals, however, there is no body or committee
                                                                           13                     that reviews the data, nor does the fishery separate out FAD-free versus
                                                                           14                     FAD purse seine fishing data. 176 This fishery is not involved in any FIPs
                                                                           15                     and has one certification from the MSC. 177
                                                                           16                j. Skipjack –Western and Central Pacific Ocean – Taiwan – FAD-free
                                                                           17                     Purse Seine. This fishery is part of the Western Central Pacific Fishery
                                                                           18                     Commission. 178 This fishery is not being assessed on their compliance
                                                                           19                     with conservation of marine mammals, which would include
                                                                           20                     dolphins.179
                                                                           21    171
                                                                                     Id.
                                                                           22    172
                                                                                     Id.
                                                                                 173
                                                                           23
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: Nauru Purse Seine, FISH
                                                                                 SOURCE, https://www.fishsource.org/fishery_page/5058
                                                                           24    174
                                                                                     Id.
                                                                                 175
                                                                           25        Skipjack Tuna Western and Central Pacific Ocean: Solomon Islands Purse
                                                                                 Seine, FISH SOURCE, https://www.fishsource.org/fishery_page/5061
                                                                           26    176
                                                                                     Id.
                                                                                 177
                                                                           27        Id.
                                                                                 178
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: Taiwan Purse Seine, FISH
                                                                           28    SOURCE, https://www.fishsource.org/fishery_page/5051
                                                                                 179
                                                                                     Id.
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                                                                           1                 k. Skipjack –Western and Central Pacific Ocean – United States –
                                                                           2                      FAD-free Purse Seine. This fishery is part of the Western Central
                                                                           3                      Pacific Fishery Commission. 180 This fishery reports combine FAD-free
                                                                           4                      and FAD purse seine fishing of all interactions with marine mammals.181
                                                                           5                      Additionally, this data is not being assessed on their compliance with
                                                                           6                      conservation of marine mammals, which would include dolphins. 182
                                                                           7              60. Unlike Defendant, other tuna brands that sell their Products in California
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                                                                           8     and the United States, such as Starkist Co., allow consumers to easily enter a
                                                                           9     number associated with a tuna product on their website and track the source of their
                                                                           10    specific batch of tuna. 183
                                                                           11             61. Defendant’s suppliers also fail to keep accurate records of their effects
                                                                           12    on cetaceans and marine life. For example, Global Dialogue on Seafood
                                                                           13    Sustainability (“GDST”), an international, business-to-business platform that
                                                                           14    established the first ever global industry standards for seafood traceability, claims
                                                                           15    that Defendant is an adopter and endorser. 184 However, the GDST does not
                                                                           16    currently have a mechanism to independently verify the validity of claims made by
                                                                           17    tuna fisheries pertaining to their compliance with and implementation of GDST
                                                                           18    standards.185
                                                                           19             62. Many Oversight Organizations Are Funded By and Partner with
                                                                           20    Destructive Fisheries. Defendant claims that all of their suppliers must have an
                                                                           21    active memberships in the International Seafood Sustainability Foundation
                                                                           22
                                                                                 180
                                                                           23
                                                                                     Skipjack Tuna Western and Central Pacific Ocean: United States Purse Seine,
                                                                                 FISH SOURCE, https://www.fishsource.org/fishery_page/5054
                                                                           24    181
                                                                                     Id.
                                                                                 182
                                                                           25        Id.
                                                                                 183
                                                                                     Trace My Starkist, STARKIST, https://starkist.com/about-starkist/corporate-
                                                                           26    responsibility/trace-my-starkist
                                                                                 184
                                                                           27        GDST Adopters & Endorsers, GLOBAL DIALOGUE ON SEAFOOD TRACEABILITY,
                                                                                 https://traceability-dialogue.org/gdst-adopters-endorsers/
                                                                           28    185
                                                                                     GDST Standards and Materials, GLOBAL DIALOGUE ON SEAFOOD TRACEABILITY,
                                                                                 https://traceability-dialogue.org/what-is-the-global-dialogue/
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                                                                           1     (ISSF). 186 The ISSF is a partnership among global scientists, tuna processors, and
                                                                           2     the WWF, with the aim to “undertake science-based initiatives for the long-term
                                                                           3     sustainability of tuna stocks, reduction of by-catch and promotion of ecosystem
                                                                           4     health.”187 Although the ISSF claims to be committed to long-term conservation and
                                                                           5     sustainable use of global tuna fisheries, as noted by Greenpeace, the ISSF is actually
                                                                           6     “nothing more than a front for giant tuna companies.”188
                                                                           7              63. The ISSF was founded in 2009, a time when environmental
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                                                                           8     organizations and consumers alike were putting more pressure on the tuna industry
                                                                           9     to change its destructive practices. The eight founding members of the ISSF were all
                                                                           10    “tuna industry giants,” who, at the time of the foundation’s finding, controlled fifty
                                                                           11    percent of the global tuna market between them. Since its founding, ISSF has
                                                                           12    consistently been funded by the corporations that it claims to oversee, receiving
                                                                           13    hundreds of thousands of dollars in donations from these “tuna industry giants.”189
                                                                           14             64. Despite requiring suppliers to have an active ISSF membership,
                                                                           15    Defendant’s use of longlines and other well-known, dolphin-harming fishing
                                                                           16    techniques, demonstrates that an ISSF membership is inconsequential and has no
                                                                           17    bearing on Defendant’s false and deceptive “DOLPHIN SAFE” representations.
                                                                           18             65. Defendant’s “DOLPHIN SAFE” label is also false and deceptive
                                                                           19    because large corporations like Aldi cannot source all of its tuna using the pole and
                                                                           20
                                                                           21    186
                                                                                     ALDI USA Sustainable Seafood Policy, ALDI,
                                                                           22    https://corporate.aldi.us/fileadmin/fm-
                                                                           23
                                                                                 dam/Corporate_Responsibility/Supply_chain/ALDI_USA_Sustainable_Seafood_Po
                                                                                 licy_2021.pdf
                                                                           24    187 Tuna 101, BUMBLE BEE, https://www.bumblebee.com/seafood-school/tuna-


                                                                           25    101/#:~:text=The%20ISSF%20mission%20is%20to,Organizations%20(RFMO)%2
                                                                                 0scientific%20committees.
                                                                           26    188
                                                                                     How the International Seafood Sustainability Foundation (ISSF) Environmental
                                                                           27    Action, GREENPEACE, https://www.greenpeace.org/usa/oceans/sustainable-
                                                                                 seafood/how-international-seafood-sustainability-foundation-blocks-environmental-
                                                                           28    action/.
                                                                                 189
                                                                                     Id.
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                                                                           1     line method, for instance, which entails catching fish one at a time. 190,191,192,193 Yet
                                                                           2     despite this, Defendant promises “DOLPHIN SAFE” tuna while simultaneously
                                                                           3     employing fishing methods that are known to kill and harm dolphins.
                                                                           4              66. Defendant’s Northern Catch Tuna “DOLPHIN SAFE” Logo is
                                                                           5     False and Deceptive. Defendant’s “DOLPHIN SAFE” logo (see Exhibits 1-4) is
                                                                           6     not the official logo set forth by the U.S. Department of Commerce (see Exhibit 8
                                                                           7     [Defendant’s “DOLPHIN SAFE” mark]).
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                                                                           8              67.       Because Defendant uses its own “DOLPHIN SAFE” logo on the
                                                                           9     Products rather than the official “DOLPHIN SAFE” logo of the U.S. Department of
                                                                           10    Commerce, Defendant is subject to subsection 16 U.S.C. Section 1385(d)(3)(C) of
                                                                           11    the Dolphin protection Consumer Information Act (“DPCIA”).
                                                                           12             68. Pursuant to 16 U.S.C. Section 1385(d)(3)(C), it is a violation of the
                                                                           13    Dolphin Protection Consumer Information Act to use a “DOLPHIN SAFE” label on
                                                                           14    food products, unless (1) no dolphins were killed or seriously injured during the
                                                                           15    fishing process, (2) the company employs a tracking and verification program, and
                                                                           16    (3) the label conforms to all other advertising and labeling regulations governed by
                                                                           17    the Federal Trade Commission. 194
                                                                           18    C.      Defendant Misled Plaintiff and Other Reasonable Consumers Who Relied
                                                                           19    on the Material and False “DOLPHIN SAFE” Claim to Their Detriment
                                                                           20             69. Material. The false advertising claims were and are material to
                                                                           21    reasonable consumers, including Plaintiff, in deciding to purchase the Products.
                                                                           22
                                                                                 190
                                                                           23
                                                                                     McDermott, supra at 81.
                                                                                 191
                                                                                     Katherine Sullivan, ‘Seaspiracy’ Dives Deep Into ‘Bycatch’ and ‘Dolphin-Safe’
                                                                           24    Tuna Scandals, PETA BLOG (Mar. 26, 2021), https://www.peta.org/blog/seaspiracy-
                                                                           25    what-is-bycatch-is-dolphin-safe-tuna-really-safe/
                                                                                 192
                                                                                     Renton, supra at 55.
                                                                           26    193
                                                                                     Kameron Schroeder, Dolphin Safe Tuna: The Illusion of a Feel-Good
                                                                           27    Conservation Story, DUKE (Apr. 19, 2017),
                                                                                 https://sites.nicholas.duke.edu/statsreview/dolphin-safe-tuna-the-illusion-of-a-feel-
                                                                           28    good-conservation-story/.
                                                                                 194
                                                                                     16 U.S.C. §§1385(d)(3)(C) and (f).
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                                                                           1              70. Reliance. Plaintiff and reasonable consumers relied and rely on
                                                                           2     Defendant’s false advertising claims in making the decision to purchase the
                                                                           3     Products.
                                                                           4              71. Consumers Lack Knowledge of Falsity. At the time Plaintiff and
                                                                           5     reasonable consumers purchased the Products, they did not know, and had no reason
                                                                           6     to know, that the Products’ false advertising claims on the label and packaging
                                                                           7     were, in fact, false, misleading, deceptive, and unlawful as set forth herein.
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                                                                           8              72. Misrepresentation/Omission. The “DOLPHIN SAFE” representations
                                                                           9     materially misrepresented the Products as using fishing practices that do not kill or
                                                                           10    injure dolphins, and Defendant failed to adequately inform reasonable consumers,
                                                                           11    including Plaintiff, that the Products were not in fact dolphin safe.
                                                                           12             73. Defendant’s Knowledge. Defendant knew, or should have known, that
                                                                           13    the “DOLPHIN SAFE” representation was false, misleading, deceptive, and
                                                                           14    unlawful, at the time that it advertised the Products using the “DOLPHIN SAFE”
                                                                           15    representations, and Defendant intentionally and deliberately used the “DOLPHIN
                                                                           16    SAFE” representations on the Products’ labeling, packaging, and advertising to
                                                                           17    cause Plaintiff and similarly situated consumers to believe that the Products are
                                                                           18    made using fair and sustainable fishing practices that do not kill or cause harm to
                                                                           19    dolphins. The conspicuousness of the challenged representation on the Products’
                                                                           20    labels and repeated use of the challenged representation in advertisements
                                                                           21    demonstrate Defendant’s awareness of the materiality of said representations and
                                                                           22    understanding that consumers prefer and are motivated to buy tuna products that
                                                                           23    contain tuna harvested by methods that do not harm dolphins. Generally,
                                                                           24    manufacturers and marketers repeat marketing messages to emphasize and
                                                                           25    characterize a brand or product line. Similarly, they reserve the front primary
                                                                           26    display panel of labels on consumer products of similar dimensions for the most
                                                                           27    important and persuasive information that they believe will motivate consumers to
                                                                           28    buy the products. Defendant, as the manufacturer, manufactured the Products using

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                                                                           1     harmful and unfair fishing practices. Defendant, as the manufacturer, had exclusive
                                                                           2     control over the “DOLPHIN SAFE” label inclusion on the Products’ labels and in
                                                                           3     their advertisements. Defendant is and was, at all times, statutorily required to
                                                                           4     ensure the manufacturing of its Products did not in fact harm, injure, or kill any
                                                                           5     dolphins in order to be “DOLPHIN SAFE.” Thus, Defendant knew, or should have
                                                                           6     known, at all relevant times, that the “DOLPHIN SAFE” label was and is false and
                                                                           7     deceptive. Defendant further knew that reasonable consumers, including Plaintiff,
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                                                                           8     were and are misled into buying the Products based on the mistaken belief that the
                                                                           9     challenged “DOLPHIN SAFE” representation is true.
                                                                           10             74. Detriment. Plaintiff and reasonable consumers would not have
                                                                           11    purchased the Products, or would have purchased the Products on different terms, if
                                                                           12    they had known the truth—that the “DOLPHIN SAFE” representations are false,
                                                                           13    and the Products are sourced using fishing methods that kill and injure dolphins.
                                                                           14    Accordingly, based on Defendant’s material misrepresentations, reasonable
                                                                           15    consumers, including Plaintiff, purchased the Products to their detriment.
                                                                           16    D. No Adequate Remedy at Law
                                                                           17             75. No Adequate Remedy at Law. Plaintiff and members of the Class are
                                                                           18    entitled to equitable relief as no adequate remedy at law exists.
                                                                           19                a. Broader Statutes of Limitations. The statutes of limitations for the
                                                                           20                     causes of action pled herein vary. The limitations period is four years for
                                                                           21                     claims brought under the UCL, which is one year longer than the
                                                                           22                     statutes of limitations under the FAL and CLRA. In addition, the
                                                                           23                     statutes of limitations vary for certain states’ laws for breach of warranty
                                                                           24                     and unjust enrichment/restitution, between approximately 2 to 6 years.
                                                                           25                     Thus, California Subclass members who purchased the Products more
                                                                           26                     than 3 years prior to the filing of the complaint will be barred from
                                                                           27                     recovery if equitable relief were not permitted under the UCL.
                                                                           28                     Similarly, Nationwide Class members who purchased the Products prior

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                                                                           1                      to the furthest reach-back under the statute of limitations for breach of
                                                                           2                      warranty, will be barred from recovery if equitable relief were not
                                                                           3                      permitted for restitution/unjust enrichment.
                                                                           4                 b. Broader Scope of Conduct. In addition, the scope of actionable
                                                                           5                      misconduct under the unfair prong of the UCL is broader than the other
                                                                           6                      causes of action asserted herein. It includes, for example, Defendant’s
                                                                           7                      overall unfair marketing scheme to promote and brand the Products with
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                                                                           8                      the Challenged Representation (“Dolphin Safe”), across a multitude of
                                                                           9                      media platforms, including the Products’ labels and packaging, over a
                                                                           10                     long period of time, in order to gain an unfair advantage over competitor
                                                                           11                     products and to take advantage of consumers’ desire for products that
                                                                           12                     comport with the Challenged Representation. The UCL also creates a
                                                                           13                     cause of action for violations of law (such as statutory or regulatory
                                                                           14                     requirements related to representations and omissions made on the type
                                                                           15                     of products at issue). Thus, Plaintiff and Class members may be entitled
                                                                           16                     to restitution under the UCL, while not entitled to damages under other
                                                                           17                     causes of action asserted herein (e.g., the FAL requires actual or
                                                                           18                     constructive knowledge of the falsity; the CLRA is limited to certain
                                                                           19                     types of plaintiffs (an individual who seeks or acquires, by purchase or
                                                                           20                     lease, any goods or services for personal, family, or household purposes)
                                                                           21                     and other statutorily enumerated conduct). Similarly, unjust
                                                                           22                     enrichment/restitution is broader than breach of warranty. For example,
                                                                           23                     in some states, breach of warranty may require privity of contract or pre-
                                                                           24                     lawsuit notice, which are not typically required to establish unjust
                                                                           25                     enrichment/restitution. Thus, Plaintiff and Class members may be
                                                                           26                     entitled to recover under unjust enrichment/restitution, while not entitled
                                                                           27                     to damages under breach of warranty, because they purchased the
                                                                           28

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                                                                           1                      products from third-party retailers or provide adequate pre-lawsuit
                                                                           2                      notice prior to the commencement of this action.
                                                                           3                 c. Injunctive Relief to Cease Misconduct and Dispel Misperception.
                                                                           4                      Injunctive relief is appropriate on behalf of Plaintiff and members of the
                                                                           5                      Class because Defendant continues to misrepresent the Products with
                                                                           6                      the Challenged Representation. Injunctive relief is necessary to prevent
                                                                           7                      Defendant from continuing to engage in the unfair, fraudulent, and/or
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                                                                           8                      unlawful conduct described herein and to prevent future harm—none of
                                                                           9                      which can be achieved through available legal remedies (such as
                                                                           10                     monetary damages to compensate past harm). Further, injunctive relief,
                                                                           11                     in the form of affirmative disclosures is necessary to dispel the public
                                                                           12                     misperception about the Products that has resulted from years of
                                                                           13                     Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such
                                                                           14                     disclosures would include, but are not limited to, publicly disseminated
                                                                           15                     statements that the Products Challenged Representation is not true and
                                                                           16                     providing accurate information about the Products’ true nature; and/or
                                                                           17                     requiring prominent qualifications and/or disclaimers on the Products’
                                                                           18                     front label concerning the Products’ true nature. An injunction requiring
                                                                           19                     affirmative disclosures to dispel the public’s misperception and prevent
                                                                           20                     the ongoing deception and repeat purchases based thereon, is also not
                                                                           21                     available through a legal remedy (such as monetary damages). In
                                                                           22                     addition, Plaintiff is unable at present to accurately quantify the
                                                                           23                     damages caused by Defendant’s future harm, rendering injunctive relief
                                                                           24                     all the more necessary. For example, because the court has not yet
                                                                           25                     certified any class, the following remains unknown: the scope of the
                                                                           26                     class, the identities of its members, their respective purchasing practices,
                                                                           27                     prices of future Product sales, and quantities of future Product sales.
                                                                           28

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                                                                           1                 d. Public Injunction. Further, because a “public injunction” is available
                                                                           2                      under the UCL, damages will not adequately “benefit the general
                                                                           3                      public” in a manner equivalent to an injunction.
                                                                           4                 e. California vs. Nationwide Class Claims. Violation of the UCL, FAL,
                                                                           5                      and CLRA are claims asserted on behalf of Plaintiff and the California
                                                                           6                      Subclass against non-California Defendants, while breach of warranty
                                                                           7                      and unjust enrichment/restitution are asserted on behalf of Plaintiff and
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                                                                           8                      the Nationwide Class. Dismissal of farther-reaching claims would bar
                                                                           9                      recovery for non-California members of the Class.
                                                                           10                f. Procedural Posture—Incomplete Discovery & Pre-Certification.
                                                                           11                     Lastly, this is the first pleading in this action and discovery has not yet
                                                                           12                     commenced and/or is at its initial stages. No class has been certified yet.
                                                                           13                     The completion of fact/non-expert and expert discovery, as well as the
                                                                           14                     certification of this case as a class action, are necessary to finalize and
                                                                           15                     determine all available and unavailable remedies, including legal and
                                                                           16                     equitable, for Plaintiff(s)’s individual claims and any certified class or
                                                                           17                     subclass. Plaintiff(s) therefore reserve their right to amend this
                                                                           18                     complaint and/or assert additional facts that demonstrate this Court’s
                                                                           19                     jurisdiction to order equitable remedies where no adequate legal
                                                                           20                     remedies exist for either Plaintiff and/or any certified class or subclass.
                                                                           21                     Such proof, to the extent necessary, will be presented prior to the trial of
                                                                           22                     any equitable claims for relief and/or the entry of an order granting
                                                                           23                     equitable relief.
                                                                           24             76. Plaintiff does not seek to impose additional or conflicting labeling,
                                                                           25    testing, or warning requirements as it relates to the “DOLPHIN SAFE” claim;
                                                                           26    rather, Plaintiff seeks to cure Defendant’s deceptive labeling of the Products as
                                                                           27    “DOLPHIN SAFE,” which is not mandated by the FDA. See 16 U.S.C. § 1385 (no
                                                                           28    provisions requiring the inclusion of a “DOLPHIN SAFE” label claim on tuna

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                                                                           1     products). The FDA has not promulgated regulations requiring environmental
                                                                           2     claims such as “DOLPHIN SAFE” on canned tuna products, let alone one that
                                                                           3     would conflict with enjoining Defendant’s misleading use of this claim. As such,
                                                                           4     Plaintiff is not seeking to impose labeling requirements that differ from any
                                                                           5     established by Congress or the FDA.
                                                                           6                                             CLASS ALLEGATIONS
                                                                           7              77. Class Definition. Plaintiff brings this action as a class action pursuant to
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                                                                           8     Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of herself and all
                                                                           9     others similarly situated, and as members of the Classes defined as follows:
                                                                           10
                                                                                           All residents of the United States who, within the applicable statute of
                                                                           11
                                                                                           limitations periods, purchased the Products (“Nationwide Class”); or in the
                                                                           12
                                                                                           alternative;
                                                                           13

                                                                           14              All residents of California who, within four years prior to the filing of this
                                                                           15              Complaint, purchased the Products (“California Subclass”).
                                                                           16
                                                                                           (“Nationwide Class” and “California Subclass,” collectively, “Class”).
                                                                           17
                                                                           18             78. Class Definition Exclusions. Excluded from the Class are: (i) Defendant,
                                                                           19    its assigns, successors, and legal representatives; (ii) any entities in which Defendant
                                                                           20    has controlling interests; (iii) federal, state, and/or local governments, including, but
                                                                           21    not limited to, their departments, agencies, divisions, bureaus, boards, sections,
                                                                           22    groups, counsels, and/or subdivisions; (iv) all persons presently in bankruptcy
                                                                           23    proceedings or who obtained a bankruptcy discharge in the last three years; and (v)
                                                                           24    any judicial officer presiding over this matter and person within the third degree of
                                                                           25    consanguinity to such judicial officer.
                                                                           26             79. Reservation of Rights to Amend Class Definition. Plaintiff reserves the
                                                                           27    right to amend or otherwise alter the class definitions presented to the Court at the
                                                                           28

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                                                                           1     appropriate time in response to facts learned through discovery, legal arguments
                                                                           2     advanced by Defendant, or otherwise.
                                                                           3              80. This action is properly maintainable as a class action pursuant to Federal
                                                                           4     Rule of Civil Procedure 23 for the reasons set forth below.
                                                                           5              81. Numerosity: Members of the Class are so numerous that individual
                                                                           6     joinder is impracticable. On information and belief, the Class consists of tens of
                                                                           7     thousands of purchasers (if not more) dispersed throughout California and the United
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                                                                           8     States. Accordingly, it would be impracticable to join all members of the Class before
                                                                           9     the Court.
                                                                           10             82. The precise number of Class members and their identities are unknown
                                                                           11    to Plaintiff at this time but may be determined through discovery. Class members
                                                                           12    may be notified of the pendency of this action by mail and/or publication through the
                                                                           13    distribution records of Defendant and third-party retailers and vendors.
                                                                           14             83. Common Questions Predominate: There are numerous and substantial
                                                                           15    questions of law or fact common to all members of the Class that predominate over
                                                                           16    any individual issues. Included within the common questions of law or fact are:
                                                                           17                a. Whether Defendant’s conduct constitutes an unfair method of
                                                                           18                     competition or unfair or deceptive act or practice in violation of
                                                                           19                     California Civil Code Section 1750, et seq.;
                                                                           20                b. Whether Defendant used deceptive representations in connection with
                                                                           21                     the sale of the Products in violation of California Civil Code Section
                                                                           22                     1750, et seq.;
                                                                           23                c. Whether Defendant represented the Products have characteristics that
                                                                           24                     they do not have in violation of California Civil Code Section 1750, et
                                                                           25                     seq.;
                                                                           26                d. Whether Defendant advertised the Products with the intent not to sell
                                                                           27                     them as advertised in violation of California Civil Code Section 1750, et
                                                                           28                     seq.;

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                                                                           1                 e. Whether Defendant’s advertising is untrue or misleading within the
                                                                           2                      meaning of Business and Professions Code Section 17500, et seq.;
                                                                           3                      Whether Defendant knew or by the exercise of reasonable care should
                                                                           4                      have known its advertising was and is untrue or misleading in violation
                                                                           5                      of Business and Professions Code Section 17500, et seq.;
                                                                           6                 f. Whether Defendant made false and misleading representations in its
                                                                           7                      advertising and labeling of the Products in violation of Business and
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                                                                           8                      Professions Code Section 17500, et seq.;
                                                                           9                 g. Whether Defendant’s conduct is an unfair business act or practice within
                                                                           10                     the meaning of Business and Professions Code Section 17200, et seq.;
                                                                           11                h. Whether Defendant’s conduct is a fraudulent business act or practice
                                                                           12                     within the meaning of Business and Professions Code Section 17200, et
                                                                           13                     seq.;
                                                                           14                i. Whether Defendant’s conduct is an unlawful business act or practice
                                                                           15                     within the meaning of Business and Professions Code Section 17200, et
                                                                           16                     seq.;
                                                                           17                j. Whether Defendant’s conduct constitutes a breach of express warranty;
                                                                           18                k. Whether Defendant’s conduct constitutes a breach of implied warranty;
                                                                           19                l. Whether Defendant was unjustly enriched by its deceptive conduct;
                                                                           20                m. Whether Plaintiff and the Class paid more money or a premium amount
                                                                           21                     for the Products than they actually received; and
                                                                           22                n. How much more money or premium amount Plaintiff and the Class paid
                                                                           23                     for the Products than they actually received?
                                                                           24             84. Typicality: Plaintiff’s claims are typical of the claims of the Class
                                                                           25    Members she seeks to represent because Plaintiff, like the Class Members,
                                                                           26    purchased Defendant’s misleading and deceptive Product. Defendant’s unlawful,
                                                                           27    unfair and/or fraudulent actions concern the same business practices described
                                                                           28    herein irrespective of where they occurred or were experienced. Plaintiff and the

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                                                                           1     Class sustained similar injuries arising out of Defendant’s conduct. Plaintiff’s and
                                                                           2     Class Members’ claims arise from the same practices and course of conduct and are
                                                                           3     based on the same legal theories.
                                                                           4              85. Adequacy: Plaintiff is an adequate representative of the Class she seeks
                                                                           5     to represent because her interests do not conflict with the interests of the Class
                                                                           6     Members Plaintiff seeks to represent. Plaintiff will fairly and adequately protect
                                                                           7     Class Members’ interests and has retained counsel experienced and competent in the
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                                                                           8     prosecution of complex class actions, including complex questions that arise in
                                                                           9     consumer protection litigation.
                                                                           10             86. Superiority and Substantial Benefit: A class action is superior to other
                                                                           11    available methods for fair and efficient adjudication of this controversy. The
                                                                           12    expense and burden of individual litigation would make it impracticable or
                                                                           13    impossible for the Class to prosecute their claims individually. A class action would
                                                                           14    be more efficient and manageable for at least the following reasons:
                                                                           15                a. The claims presented in this case predominate over any questions of law
                                                                           16                     or fact, if any exist at all, affecting any individual member of the Class;
                                                                           17                b. Absent a Class, the members of the Class will continue to suffer damage
                                                                           18                     and Defendant’s unlawful conduct will continue without remedy while
                                                                           19                     Defendant profits from and enjoys their ill-gotten gains;
                                                                           20                c. Given the size of individual Class Members’ claims, few, if any, Class
                                                                           21                     Members could afford to or would seek legal redress individually for the
                                                                           22                     wrongs Defendant committed against them, and absent Class Members
                                                                           23                     have no substantial interest in individually controlling the prosecution of
                                                                           24                     individual actions;
                                                                           25                d. When the liability of Defendant has been adjudicated, claims of all
                                                                           26                     members of the Class can be administered efficiently and/or determined
                                                                           27                     uniformly by the Court; and
                                                                           28

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                                                                           1                 e. This action presents no difficulty that would impede their management
                                                                           2                      by the Court as a class action, which is the best available means by
                                                                           3                      which Plaintiff and Class Members can seek redress for the harm caused
                                                                           4                      to them by Defendant.
                                                                           5              87. Inconsistent Rulings. Because Plaintiff seeks relief for all members of
                                                                           6     the Class, the prosecution of separate actions by individual members would create a
                                                                           7     risk of inconsistent or varying adjudications with respect to individual members of
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                                                                           8     the Class, which would establish incompatible standards of conduct for Defendant.
                                                                           9              88. Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                                           10    action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met
                                                                           11    as Defendant has acted or refused to act on grounds generally applicable to the
                                                                           12    Class, thereby making appropriate final injunctive or equitable relief with respect to
                                                                           13    the Class as a whole.
                                                                           14             89. Manageability. The trial and litigation of Plaintiff’s claims are
                                                                           15    manageable. Plaintiff and Plaintiff’s counsel are unaware of any difficulties that are
                                                                           16    likely to be encountered in the management of this action that would preclude its
                                                                           17    maintenance as a class action.
                                                                           18             90. Individual litigation of the legal and factual issues raised by Defendant’s
                                                                           19    conduct would increase delay and expense to all parties and the court system. The
                                                                           20    class action device presents far fewer management difficulties and provides the
                                                                           21    benefits of a single, uniform adjudication, economics of scale, and comprehensive
                                                                           22    supervision by a single court.
                                                                           23                                                 COUNT ONE
                                                                           24                      Violation of California Consumers Legal Remedies Act,
                                                                           25                                       California Civil Code 1750, et seq.
                                                                           26                              (brought on behalf of the California Subclass)
                                                                           27             91. Plaintiff repeats and re-alleges the allegations of the previous paragraphs
                                                                           28    and incorporates the same as if set forth herein at length.

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                                                                           1              92. Plaintiff brings this cause of action pursuant to Civil Code Section 1750,
                                                                           2     et seq., the Consumers Legal Remedies Act (“CLRA”), on her own behalf and on
                                                                           3     behalf of all other persons similarly situated. Plaintiff seeks to represent the Class as
                                                                           4     defined in Paragraph 77.
                                                                           5              93. The Class consists of thousands of persons or more, the joinder of whom
                                                                           6     is impracticable.
                                                                           7              94. There are questions of law and fact common to the Class, which
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                                                                           8     questions are substantially similar and predominate over questions affecting the
                                                                           9     individual Class members, as set forth hereinabove.
                                                                           10             95. The CLRA prohibits certain “unfair methods of competition and unfair
                                                                           11    or deceptive acts or practices” in connection with the sale of goods.
                                                                           12             96. The practices described herein, specifically Defendant’s packaging,
                                                                           13    advertising, and sale of the Products, were intended to result and did result in the
                                                                           14    sale of the Products to the consuming public and violated and continue to violate the
                                                                           15    CLRA by (1) using deceptive representations in connection with the Products; and
                                                                           16    (2) advertising, labeling, and packaging the Products with intent not to sell them as
                                                                           17    advertised.
                                                                           18             97. Defendant fraudulently deceived Plaintiff and the Class by
                                                                           19    misrepresenting the Products as having characteristics which they do not have, e.g.,
                                                                           20    labeling and advertising the Products as being “DOLPHIN SAFE.” In doing so,
                                                                           21    Defendant intentionally misrepresented and concealed material facts from Plaintiff
                                                                           22    and the Class. Said misrepresentations and concealment were done with the
                                                                           23    intention of deceiving Plaintiff and the Class and depriving them of their legal rights
                                                                           24    and money.
                                                                           25             98. Defendant knew or should have known, through the exercise of
                                                                           26    reasonable care, that the Products’ labeling and advertising were misleading.
                                                                           27    //
                                                                           28    //

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                                                                           1              99. Defendant’s actions as described herein were done with conscious
                                                                           2     disregard of Plaintiff’s rights, and Defendant was wanton and malicious in its
                                                                           3     concealment of the same.
                                                                           4              100. Defendant’s labeling and advertising of the Products were material
                                                                           5     factors in Plaintiff’s decision to purchase the Products. Based on Defendant’s
                                                                           6     labeling and advertising of the Products, Plaintiff reasonably believed that she was
                                                                           7     purchasing Products that were manufactured using methods that were safe for
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                                                                           8     dolphins. In actuality, the Products were manufactured using methods that kill and
                                                                           9     injure dolphins. Had she known the truth of the matter, Plaintiff would not have
                                                                           10    purchased the Products.
                                                                           11             101. Plaintiff and the Class have suffered injury in fact and have lost money
                                                                           12    as a result of Defendant’s unfair, unlawful, and fraudulent conduct. Specifically,
                                                                           13    Plaintiff and the Class paid for Products that were different from what they were
                                                                           14    reasonably expecting when they decided to make their respective purchases.
                                                                           15    Plaintiff and the Class would not have purchased the Products had they known the
                                                                           16    claims were false.
                                                                           17             102. Defendant’s false and misleading labeling and advertising should be
                                                                           18    enjoined due to its false, misleading and/or deceptive nature.
                                                                           19             103. By letter dated February 11, 2022, Plaintiff advised Defendant of its
                                                                           20    false and misleading claims pursuant to California Civil Code Section 1782(a).
                                                                           21             104. Pursuant to Section 1780(a) of the Act, Plaintiff seeks injunctive relief
                                                                           22    in the form of an order enjoining the above-described wrongful acts and practices of
                                                                           23    Defendant, including, but not limited to, an order enjoining Defendant from
                                                                           24    continuing to make the label and advertising claim challenged herein.
                                                                           25             105. Plaintiff shall be irreparably harmed if such an order is not granted.
                                                                           26    Plaintiff also seeks restitution.
                                                                           27    //
                                                                           28    //

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                                                                           1                                                 COUNT TWO
                                                                           2                              Violation of California False Advertising Law,
                                                                           3                                 Business & Professions Code 17500, et seq.
                                                                           4                               (brought on behalf of the California Subclass)
                                                                           5              106. Plaintiff repeats and re-alleges the allegations set forth in the preceding
                                                                           6     paragraphs and incorporates the same as if set forth herein at length.
                                                                           7              107. Plaintiff brings this cause of action pursuant to Business and Professions
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                                                                           8     Code Section 17500, et seq., individually and on behalf of the Class.
                                                                           9              108. California’s False Advertising Law, California Business and Profession
                                                                           10    Code Section 17500, et seq., makes it “unlawful for any person to make or
                                                                           11    disseminate or cause to be made or disseminated before the public in this state, in
                                                                           12    any advertising device or in any other manner or means whatever, including over
                                                                           13    the Internet, any statement, concerning personal property or services, professional or
                                                                           14    otherwise, or performance or disposition thereof, which is untrue or misleading and
                                                                           15    which is known, or which by the exercise of reasonable care should be known, to be
                                                                           16    untrue or misleading.”
                                                                           17             109. Defendant knowingly spread misleading claims regarding the Products
                                                                           18    as a means to mislead the public that the Products are manufactured in a manner that
                                                                           19    is safe for dolphins.
                                                                           20             110. Defendant controlled the labeling, packaging, production, and
                                                                           21    advertising of the Products. Defendant knew or should have known, through the
                                                                           22    exercise of reasonable care, that its “DOLPHIN SAFE” representations and
                                                                           23    omissions about the Products were untrue, deceptive, and misleading.
                                                                           24             111. Defendant’s actions of advertising and displaying misleading claims and
                                                                           25    falsely labeling the Products “DOLPHIN SAFE” on each Product label are highly
                                                                           26    likely to deceive consumers in regard to the actual nature of these products.
                                                                           27             112. Defendant’s actions in violation of Section 17500 were false and
                                                                           28    misleading such that the general public is and was likely to be deceived.

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                                                                           1              113. Pursuant to Business & Professions Code Section 17535, Plaintiff and
                                                                           2     the Class seek an order of this Court enjoining Defendant from continuing to
                                                                           3     engage, use, or employ its unlawful business practice. Likewise, Plaintiff and the
                                                                           4     Class seek an order requiring Defendant to disclose such misrepresentations, and
                                                                           5     additionally request an order awarding Plaintiff and the Class restitution of the
                                                                           6     money wrongfully acquired by Defendant in amount to be determined by trial.
                                                                           7              114. Plaintiff and the Class have suffered injury in fact and have lost money
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                                                                           8     as a result of Defendant’s false representations. Plaintiff and the Class purchased the
                                                                           9     Products in reliance upon the claims by Defendant that the Products were
                                                                           10    “DOLPHIN SAFE.” Plaintiff would not have purchased the Products if she had
                                                                           11    known that the claims and advertising as described herein were false.
                                                                           12                                               COUNT THREE
                                                                           13                          Violation of California Unfair Competition Law,
                                                                           14                          Business & Professions Code Section 17200, et seq.
                                                                           15                              (brought on behalf of the California Subclass)
                                                                           16             115. Plaintiff repeats and re-alleges the allegations set forth above and
                                                                           17    incorporates the same as if set forth herein at length.
                                                                           18             116. Plaintiff brings this cause of action pursuant to Business and Professions
                                                                           19    Code Section 17200, et seq., on their own behalf and on behalf of the Class.
                                                                           20             117. The UCL prohibits “any unlawful, unfair... or fraudulent business act or
                                                                           21    practice.” Cal. Bus & Prof. Code § 17200.
                                                                           22                                            A. “Unfair” Prong
                                                                           23             118. Under California’s Unfair Competition Law, Cal. Bus. & Prof. Code §
                                                                           24    17200, et. seq., a challenged activity is “unfair” when “any injury it causes
                                                                           25    outweighs any benefits provided to consumers and the injury is one that the
                                                                           26    consumers themselves could not reasonably avoid.” Camacho v. Auto Club of
                                                                           27    Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                           28    //

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                                                                           1              119. Defendant’s actions of advertising and labeling the Products as being
                                                                           2     “DOLPHIN SAFE” are false, misleading, and deceptive.
                                                                           3              120. Defendant’s actions of falsely advertising its Products as “DOLPHIN
                                                                           4     SAFE” cause injuries to consumers.
                                                                           5              121. Through false, misleading, and deceptive advertising and labeling of the
                                                                           6     Products, Defendant seeks to take advantage of consumer’s desires for products that
                                                                           7     are dolphin safe, while reaping the financial benefits of manufacturing the Products
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                                                                           8     in manner that kills and injures dolphins.
                                                                           9              122. When Defendant claims that the Products are “DOLPHIN SAFE,” it
                                                                           10    provides false promises to consumers, which reduces consumer choice. This also
                                                                           11    increases the cost to consumers because the unfair business practice allows
                                                                           12    Defendant to produce the Products more inexpensively, which in turn, stifles
                                                                           13    competition in the marketplace of manufacturers who incur additional costs in
                                                                           14    manufacturing a competing product that is truthfully advertised as “DOLPHIN
                                                                           15    SAFE” because it is sourced from tuna caught using fishing methods which do not
                                                                           16    kill or injure dolphins.
                                                                           17             123. Consumers cannot avoid any of the injuries caused by Defendant’s false
                                                                           18    and misleading advertising of the Products.
                                                                           19             124. Some courts conduct a balancing test to decide if a challenged activity
                                                                           20    amounts to unfair conduct under California Business and Professions Code Section
                                                                           21    17200. In doing so, the courts “weigh the utility of the Defendant’s conduct against
                                                                           22    the gravity of the harm alleged to the victim.” Davis v. HSBC Bank Nevada, N.A.,
                                                                           23    691 F. 3d 1152, 1169 (9th Cir. 2012).
                                                                           24             125. Defendant’s false promise results in financial harm to consumers. Thus,
                                                                           25    the utility of Defendant’s conduct is vastly outweighed by the gravity of its harm.
                                                                           26             126. Some courts require the “unfairness must be tethered to some legislative
                                                                           27    declared policy or proof of some actual or threatened impact on competition.”
                                                                           28    Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

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                                                                           1              127. Defendant’s labeling and advertising of the Products is false, deceptive,
                                                                           2     misleading, and unreasonable, and constitutes an unfair business practice within the
                                                                           3     meaning of California Business & Professions Code Section 17200.
                                                                           4              128. There were reasonably available alternatives to further Defendant’s
                                                                           5     legitimate business interests other than the conduct described herein. Defendant
                                                                           6     could have marketed the Products without making any false statements about the
                                                                           7     safety of dolphins in the manufacturing of the Products.
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                                                                           8              129. All of the conduct alleged herein occurs and continues to occur in
                                                                           9     Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                                                                           10    generalized course of conduct repeated on thousands of occasions daily.
                                                                           11             130. Pursuant to Business & Professions Code Section 17203, Plaintiff and
                                                                           12    the Class seek an order of this Court enjoining Defendant from continuing to
                                                                           13    engage, use, or employ its practice of false and deceptive advertising and labeling of
                                                                           14    the Products. Likewise, Plaintiff and the Class seek an order requiring Defendant to
                                                                           15    disclose such misrepresentations, and additionally request an order awarding
                                                                           16    Plaintiff and the Class restitution of the money wrongfully acquired by Defendant in
                                                                           17    an amount to be determined at trial.
                                                                           18             131. Plaintiff and the Class have suffered injury in fact and have lost money
                                                                           19    as a result of Defendant’s unfair conduct. Plaintiff paid an unwarranted premium for
                                                                           20    the Products. Plaintiff would not have purchased the Products had she known that
                                                                           21    the Products were not created in a dolphin safe manner, or certainly would not have
                                                                           22    paid a premium.
                                                                           23                                             B. “Fraudulent” Prong
                                                                           24             132. California Business and Professions Code Section 17200, et seq.
                                                                           25    considers conduct fraudulent and prohibits said conduct if it is likely to deceive
                                                                           26    members of the public. Bank of the West v. Superior Court, 2 Cal. 4th 1254, 1267
                                                                           27    (1992).
                                                                           28    //

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                                                                           1              133. Defendant’s advertising and labeling of the Products as “DOLPHIN
                                                                           2     SAFE” is likely to deceive members of the public into believing that the Products
                                                                           3     are actually dolphin safe when they are manufactured using methods that kill and
                                                                           4     injure thousands of dolphins annually.
                                                                           5              134. Defendant’s advertising and labeling of the Products, as alleged in the
                                                                           6     preceding paragraphs, is false, deceptive, misleading, and unreasonable and
                                                                           7     constitutes fraudulent conduct.
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                                                                           8              135. Defendant knew or should have known of its fraudulent conduct.
                                                                           9              136. As alleged in the preceding paragraphs, the material misrepresentations
                                                                           10    by Defendant detailed above constitute a fraudulent business practice in violation of
                                                                           11    California Business & Professions Code Section 17200.
                                                                           12             137. There were reasonably available alternatives to further Defendant’s
                                                                           13    legitimate business interests. Defendant could have advertised and labeled the
                                                                           14    Products without making the false and deceptive “DOLPHIN SAFE” statements.
                                                                           15             138. Defendant’s wrongful conduct is part of a pattern or generalized course
                                                                           16    of conduct repeated on thousands of occasions daily.
                                                                           17             139. Pursuant to Business & Professions Code Section 17203, Plaintiff and
                                                                           18    the Class seek an order of this Court enjoining Defendant from continuing to
                                                                           19    engage, use, or employ its practice of false and deceptive advertising of the
                                                                           20    Products. Likewise, Plaintiff and the Class seek an order requiring Defendant to
                                                                           21    disclose such misrepresentations, and additionally request an order awarding
                                                                           22    Plaintiff restitution of the money wrongfully acquired by Defendant in an amount to
                                                                           23    be determined at trial.
                                                                           24             140. Plaintiff and the Class have suffered injury in fact and have lost money
                                                                           25    as a result of Defendant’s fraudulent conduct. Plaintiff paid an unwarranted
                                                                           26    premium for the Products. Plaintiff would not have purchased the Products if she
                                                                           27    had known that the Products were not sold as advertised.
                                                                           28    //

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                                                                           1              141. Injunction. Pursuant to Business and Professions Code Sections 17203,
                                                                           2     Plaintiff and the California Subclass seek an order of this Court enjoining Defendant
                                                                           3     from continuing to engage, use, or employ its practice of labeling the Products with
                                                                           4     the “DOLPHIN SAFE” representation.
                                                                           5                                              C. “Unlawful” Prong
                                                                           6              142. California Business and Professions Code Section 17200, et seq.,
                                                                           7     identifies violations of other laws as “unlawful practices that the unfair competition
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                                                                           8     law makes independently actionable.” Velazquez v. GMAC Mortg. Corp., 605 F.
                                                                           9     Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                                           10             143. Defendant’s advertising of the Products, as alleged in the preceding
                                                                           11    paragraphs, violates California Civil Code Section 1750, et seq., California Business
                                                                           12    and Professions Code Section 17500, et seq.
                                                                           13             144. Defendant’s packaging, labeling, and advertising of the Products as
                                                                           14    being “DOLPHIN SAFE” are false, deceptive, misleading, unfair, unlawful, and
                                                                           15    unreasonable.
                                                                           16             145. Defendant knew or should have known of its unlawful conduct.
                                                                           17             146. Violations of Bus. & Prof. Code 17580, et seq. (Environmental
                                                                           18    Advertising). Section 17580.5 makes it “unlawful for a person to make an
                                                                           19    untruthful, deceptive, or misleading environmental marketing claim, whether
                                                                           20    explicit or implied,” and defines environmental marketing claims consistent with the
                                                                           21    Green Guides. The Green Guides caution marketers that “[i]t is deceptive to
                                                                           22    misrepresent, directly or by implication, that a product, package, or service offers a
                                                                           23    general environmental benefit,” and warns marketers that such claims, for example,
                                                                           24    lead consumers to believe that the seller’s wares have no negative environmental
                                                                           25    impact. 16 C.F.R. § 260.4. Similarly, section 17580 also identifies several examples
                                                                           26    of environmental labeling claims that are interpreted to mean that the product will
                                                                           27    not harm the environment, including: “environmental choice,” “ecologically
                                                                           28    friendly,” “earth friendly,” “environmentally friendly,” “ecologically sound,”

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                                                                           1     “environmentally sound,” “environmentally safe,” “ecologically safe,”
                                                                           2     “environmentally lite,” “green product,” and similar terms. Indeed, section 17581
                                                                           3     not only criminalizes such deceptive marketing claims, but authorizes the Court to
                                                                           4     award monetary penalties. The Merriam-Webster standard dictionary defines
                                                                           5     “environment” as “the complex of physical, chemical, and biotic factors (such as
                                                                           6     climate, soil, and living things) that act upon an organism or an ecological
                                                                           7     community and ultimately determine its form and survival.” As previously and
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                                                                           8     subsequently outlined, this case concerns the use of fishing methods that are known
                                                                           9     to kill or cause harm to dolphins. Dolphins are a vital part of the natural
                                                                           10    environment not only because they are living creatures but because they keep
                                                                           11    ecosystems in balance, disperse nutrients, and mix water in stratified oceans and
                                                                           12    rivers. Thus, in labeling and advertising its Products as “DOLPHIN SAFE” while
                                                                           13    simultaneously using longline and similarly harmful fishing methods to harvest
                                                                           14    tuna, Defendant is violating California law.
                                                                           15             147. As alleged in the preceding paragraphs, the misrepresentations by
                                                                           16    Defendant detailed above constitute an unlawful business practice within the
                                                                           17    meaning of California Business and Professions Code Section 17200.
                                                                           18             148. There were reasonably available alternatives to further Defendant’s
                                                                           19    legitimate business interests. Defendant could have truthfully labeled and advertised
                                                                           20    the Products.
                                                                           21             149. All of the conduct alleged herein occurred and continues to occur in
                                                                           22    Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                                                                           23    generalized course of conduct repeated on thousands of occasions daily.
                                                                           24             150. Pursuant to Business and Professions Code Section 17203, Plaintiff and
                                                                           25    the Class seek an order of this Court enjoining Defendant from continuing to
                                                                           26    engage, use, or employ its practice of false and deceptive advertising of the
                                                                           27    Products. Plaintiff and the Class also seek an order requiring Defendant to disclose
                                                                           28    such misrepresentations, and additionally request an order awarding Plaintiff

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                                                                           1     restitution of the money wrongfully acquired by Defendant in an amount to be
                                                                           2     determined at trial.
                                                                           3              151. Plaintiff and the Class have suffered injury in fact and have lost money
                                                                           4     as a result of Defendant’s unlawful conduct. Plaintiff paid an unwarranted premium
                                                                           5     for the Products. Plaintiff would not have purchased the Products if she had known
                                                                           6     that Defendant deceived consumers into believing the Products were “DOLPHIN
                                                                           7     SAFE.”
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                                                                           8                                                    COUNT FOUR
                                                                           9                                              Breach of Express Warranty
                                                                           10                                            (brought on behalf of the Class)
                                                                           11             152. Plaintiff repeats and re-alleges the allegations of the previous paragraphs
                                                                           12    and incorporates the same as if set forth herein at length.
                                                                           13             153. Defendant expressly warrants that the Products are “DOLPHIN SAFE,”
                                                                           14    meaning they were sourced from fishing methods that are safe for dolphins and do
                                                                           15    not kill or harm dolphins. Defendant’s claims constitute an affirmation of fact,
                                                                           16    promise, and/or description of the goods that became part of the basis of the bargain
                                                                           17    and created an express warranty that the goods would conform to the stated promise.
                                                                           18    Plaintiff placed importance on Defendant’s claims.
                                                                           19             154. By advertising and selling the Products at issue, Defendant made
                                                                           20    promises and affirmations of fact on the Products’ packaging and labeling, and
                                                                           21    through its marketing and advertising, as described herein. This labeling and
                                                                           22    advertising constitute express warranties and became part of the basis of the bargain
                                                                           23    between Plaintiff and members of the Class and Defendant. Defendant purports,
                                                                           24    through the Products’ labeling and advertising, to create express warranties that the
                                                                           25    Products, among other things, conform to the challenged “DOLPHIN SAFE”
                                                                           26    representation.
                                                                           27             155. All conditions precedent to Defendant’s liability under this contract
                                                                           28    have been performed by Plaintiff and the Class.

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                                                                           1              156. Defendant breached the terms of the contract, including the express
                                                                           2     warranties, with Plaintiff and the Class by not providing Products that conform to
                                                                           3     the “DOLPHIN SAFE” advertising and label claims.
                                                                           4              157. As a result of Defendant’s breach of contract, Plaintiff and the Class
                                                                           5     have been damaged in an amount to be determined at trial.
                                                                           6                                                     COUNT FIVE
                                                                           7                                              Breach of Implied Warranty
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                                                                           8                                             (brought on behalf of the Class)
                                                                           9              158. Plaintiff repeats and re-alleges the allegations set forth above and
                                                                           10    incorporates the same as if set forth herein at length.
                                                                           11             159. Unless excluded or modified, a warranty that a good shall be
                                                                           12    merchantable is implied in a contract for their sale, if the seller is a merchant with
                                                                           13    respect to goods of that kind.
                                                                           14             160. Defendant is a merchant with respect to the Products, as it manufactures,
                                                                           15    distributes, and sells the Products nationwide.
                                                                           16             161. In order to be merchantable, goods must conform to the promises or
                                                                           17    affirmations of fact made on the container or labeling.
                                                                           18             162. Defendant breached the implied warranty of merchantability to Plaintiff
                                                                           19    and the Class in that the labels of the Products promised and affirmed that the
                                                                           20    Products were “DOLPHIN SAFE,” meaning they were sourced using fishing
                                                                           21    methods which do not kill or injure dolphins.
                                                                           22             163. Contrary to the promise and affirmation of fact, the Products do not
                                                                           23    conform to the challenged “DOLPHIN SAFE” representations and, therefore,
                                                                           24    Defendant breached its warranties about the Products and their qualities.
                                                                           25             164. As a direct and proximate result of Defendant’s breach of its implied
                                                                           26    warranty, Plaintiff and members of the Class have suffered and continue to suffer
                                                                           27    economic losses and other damages including, but not limited to, the amounts paid
                                                                           28    for the Products, and any interest that would have accrued on those monies, in an

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                                                                           1     amount to be proven at trial.
                                                                           2              165. Defendant did not exclude or modify the Products’ implied warranty of
                                                                           3     merchantability.
                                                                           4              166. Plaintiff and the Class are therefore entitled to recover all available
                                                                           5     remedies for said breach.
                                                                           6                                                      COUNT SIX
                                                                           7                     Restitution Based On Quasi-Contract/Unjust Enrichment
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                                                                           8                                             (brought on behalf of the Class)
                                                                           9              167. Plaintiff repeats and re-alleges the allegations set forth above and
                                                                           10    incorporates the same as if set forth herein at length.
                                                                           11             168. Plaintiff brings this cause of action individually and on behalf of the
                                                                           12    members of the Class against Defendant.
                                                                           13             169. By means of Defendant’s wrongful conduct alleged herein, Defendant
                                                                           14    knowingly sold the Products to Plaintiff and members of the Class in a manner that
                                                                           15    was unfair, unconscionable, and oppressive.
                                                                           16             170. Defendant knowingly received and retained wrongful benefits and funds
                                                                           17    from Plaintiff and members of the Class. In so doing, Defendant acted with
                                                                           18    conscious disregard for the rights of Plaintiff and members of the Class.
                                                                           19             171. As a result of Defendant’s wrongful conduct as alleged herein,
                                                                           20    Defendant has been unjustly enriched at the expense of, and to the detriment of,
                                                                           21    Plaintiff and members of the Class.
                                                                           22             172. Defendant’s unjust enrichment is traceable to, and resulted directly and
                                                                           23    proximately from, the conduct alleged herein.
                                                                           24             173. Under the common law doctrine of unjust enrichment, it is inequitable
                                                                           25    for Defendant to be permitted to retain the benefits it received, without justification,
                                                                           26    from selling the Product to Plaintiff and members of the Class in an unfair,
                                                                           27    unconscionable, and oppressive manner. Defendant’s retention of such funds under
                                                                           28    such circumstances constitutes unjust enrichment.

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                                                                           1              174. The financial benefits derived by Defendant rightfully belong to
                                                                           2     Plaintiff and members of the Class. Defendant should be compelled to return in a
                                                                           3     common fund for the benefit of Plaintiff and members of the Class all wrongful or
                                                                           4     inequitable proceeds received by Defendant.
                                                                           5              175. Plaintiff and members of the Class have no adequate remedy at law.
                                                                           6                                             PRAYER FOR RELIEF
                                                                           7             WHEREFORE, Plaintiff, individually and on behalf of the Class defined
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                                                                           8     herein, pray for judgment and relief on all Causes of Action as follows:
                                                                           9                 a. Certification: For an order certifying this action as a class action,
                                                                           10                     appointing Plaintiff as the Class Representative, and appointing
                                                                           11                     Plaintiff’s Counsel as Class Counsel;
                                                                           12                b. Declaratory Relief: For an order declaring that Defendant’s conduct
                                                                           13                     violates the statutes and laws referenced herein;
                                                                           14                c. Injunction: For an order enjoining Defendant from continuing to
                                                                           15                     market, advertise, distribute, and sell the Products in the unlawful
                                                                           16                     manner described herein; and requiring all further and just corrective
                                                                           17                     action, consistent with permissible law and pursuant to only those
                                                                           18                     causes of action so permitted;
                                                                           19                d. Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                           20                     compensation in the form of damages, restitution, and/or disgorgement
                                                                           21                     to Plaintiff and the Class, consistent with permissible law and pursuant
                                                                           22                     to only those causes of action so permitted;
                                                                           23                e. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and
                                                                           24                     costs, consistent with permissible law and pursuant to only those causes
                                                                           25                     of action so permitted;
                                                                           26                f. Pre/Post-Judgment Interest: For an order awarding pre-judgment and
                                                                           27                     post-judgment interest, consistent with permissible law and pursuant to
                                                                           28                     only those causes of action so permitted; and

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                                                                           1                 g. All Just & Proper Relief: For such other and further relief as the Court
                                                                           2                      deems just and proper.
                                                                           3                                             JURY TRIAL DEMANDED
                                                                           4             Plaintiff demand a jury trial on all triable issues.
                                                                           5
                                                                           6

                                                                           7     DATED: August 25, 2022                                  CLARKSON LAW FIRM, P.C.
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                                                                           8
                                                                                                                                         /s/ Bahar Sodaify
                                                                           9                                                             Ryan J. Clarkson, Esq.
                                                                                                                                         Bahar Sodaify, Esq.
                                                                           10                                                            Christina N. Mirzaie, Esq.
                                                                           11
                                                                                                                                         Attorneys for Plaintiff
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